     Case 3:20-cv-02910-X Document 282 Filed 07/16/21           Page 1 of 67 PageID 4678



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

                                                       §
U.S. COMMODITY FUTURES TRADING                         §
COMMISSION, et al.                                     §
                                                       §
                       Plaintiffs,                     §
                                                       §         CIVIL ACTION NO.
v.                                                     §           3:20-CV-2910-L
                                                       §
TMTE, INC. a/k/a METALS.COM, CHASE                     §
METALS, INC., CHASE METALS, LLC,                       §
BARRICK CAPITAL, INC., LUCAS THOMAS                    §
ERB a/k/a LUCAS ASHER a/k/a LUKE ASHER,                §
and SIMON BATASHVILI,                                  §
                                                       §
                       Defendants,                     §
                                                       §
TOWER EQUITY, LLC,                                     §
                                                       §
                       Relief Defendant.               §
                                                       §


                         APPENDIX IN SUPPORT OF RECEIVER'S
                             FOURTH FEE APPLICATION

         Kelly M. Crawford, as the Court appointed Receiver, submits the following Appendix in

Support of the Receiver's Fomih Fee Application, as follows:

Exhibit A       Invoice of Receiver's time and expense           pages 3 to 10

Exhibit B       Invoice of Scheef & Stone                        pages 11 to 49

Exhibit C       Invoices of Brown Fox, PLLC                      pages 50 to 53

Exhibit D       Invoices of Ahuja & Clark, PLLC                  pages 54 to 65

Exhibit E       Declaration of Receiver Kelly Crawford           pages 66 to 67




APPENDIX IN SUPPORT OF RECEIVER'S FOURTH FEE APPLICATION                 PAGE    I


                                                                                     APP 0001
  Case 3:20-cv-02910-X Document 282 Filed 07/16/21                   Page 2 of 67 PageID 4679



Dated: July 1, 2021


                                                Respectfully submitted,

                                                       SCHEEF & STONE, L.L.P.


                                                       By: Isl Peter Lewis
                                                           Peter Lewis
                                                           State Bar No. 12302100
                                                           Peter.Lewis@solidcounsel.com

                                                       500 North Akard, Suite 2700
                                                       Dallas, Texas 75201
                                                       Telephone: (214) 706-4200
                                                       Telecopier: (214) 706-4242

                                                       ATTORNEYS FOR RECEIVER
                                                       KELLY M. CRAWFORD




                                   CERTIFICATE OF SERVICE

          The undersigned hereby certifies that on July 16, 2021 I electronically filed the foregoing

document with the clerk of the U.S. District Comi, Eastern District of Texas, using the electronic
case filing system of the court, which provided a "Notice of Electronic Filing" to all attorneys of
record.


                                                       Isl Peter Lewis
                                                       PETER LEWIS




APPENDIX IN SUPPORT OF RECEIVER'S FOURTH FEE APPLICATION                       PAGE2


                                                                                         APP 0002
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                        Page 3 of 67 PageID 4680

     Scheef & Stone, L.L.P.
     500 N. Akard, Suite 2700
     Dallas, Texas 75201                                 SOL.ID COUMSEL




                                                             INVOICE


    Kelly Crawford Receivership - Metals.co                                                      Statement Date:      05/26/2021
                                                                                                     Account No.      16125.101
                                                                                                     Invoice No.        1021661




      Matter 101 - Receiver




                                                                                                               Hours
03/26/2021     KMC   Conference call with Plaintiffs' attorneys and Defendants' attorney regarding
                     scheduling order (.25); finalize the investor database and begin process of
                     mailing out claim confirmations, directing team (5.00).                                       5.25

03/27/2021     KMC   Work on finalizing investor database and sending out claim confirmation
                     forms, including preparing list of investors to send non-metals claims to (more
                     than 400).                                                                                    7.00

03/28/2021     KMC   Work on investor database, and determining purchases in preparation for
                     mailout.                                                                                      7.00

03/29/2021     KMC   Review, revise, and finalize database and begin sending out to investors.                 10.00

03/30/2021     KMC   Work on database and mailing out claim confirmation forms to investors.                   12.00

03/31/2021     KMC   Continue reviewing and finalizing distribution of claim confirmation forms to
                     investors.                                                                                    7.00

04/01/2021     KMC   Telephone conference with CFTC regarding motion filed by defendants and
                     conference with P. Lewis regarding same (1.25); work on finalizing database
                     and distributing claim forms to investors (10.00).                                        11.25

04/02/2021     KMC   Review database and check it against names provided by the States to insure
                     everyone is included and attend to numerous investor calls.                                   4.00

04/03/2021     KMC   Review database and compare with State lists to identify any persons missing
                     from database and add to database for purpose of sending out claims (3.25);
                     determine claims of certain Wisconsin investors and respond to Wisconsin
                     securities department regarding claims (.1 O); telephone conference with P.
                     Lewis regarding status of pending issues (.25).                                               3.60

04/05/2021     KMC   Work on claims process, including responding to investor questions regarding
                     claims, attending to investor calls, adding names to database to receive                  EXHIBIT

                                                                                                         ~
                                                                                                          ~
                                                                                                         APP 0003  B
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                       Page 4 of 67 PageID 4681
       Kelly Crawford Receivership - Metals.com                                                                         05/26/2021
                                                                                                        Account No:     16125-101
                                                                                                         Invoice No:      1021661
       Matter 101 - Receiver




                                                                                                               Hours
                      claims, and reviewing online orders.                                                      5.00

04/06/2021     KMC    Conference with team regarding response to Motion filed by Defendants'
                      attorneys (.75); conference with P. Lewis regarding strategy of response (.25);
                      attend to responding to investor inquiries regarding claim confirmations,
                      receipt of claim confirmations, and finalizing of investor database (1.50).                2.50

04/07/2021     KMC    Telephone conference with accountant regarding preparing tax returns for
                      receivership entities (.25); telephone conference with P. Lewis and EquityZen
                      representatives regarding pending equity investments and procedures for
                      liquidating same and conference with P. Lewis regarding same (1.00);
                      conference with J. Rolls regarding calls from investors (.25); conference with
                      Carla regarding reviewing email addresses from Florida to insure claim forms
                      are emailed out to Florida investors (.25); prepare letter to State Farm
                      regarding failure to respond to earlier demand for production of documents
                      (.25); communicate with Leslie Sanderson regarding pending orders at
                      Bayside Metals for remainder of investors that have not been located and
                      communicate with Bayside Metals regarding decisions of certain investors to
                      accept metals instead of liquidation (.25); respond to investors sending in
                      confirmations and making inquiries (,50).                                                  3.00

04/08/2021     KMC    Telephone conference with team regarding response to fee application by
                      defendants' attorneys (1.00); attend to adding new investors to database and
                      sending them claim confirmation forms, and conferences with team regarding
                      database and claims (2.50); communicate with California department of
                      finance regarding sales tax issues for status of receivership entities (.25);
                      telephone conference with K. Loquet regarding documents (.25).                             4.00

04/09/2021     KMC    Telephone conference with CFTC (1.25); work on Third Fee Application (2.00)
                      NO CHARGE; respond to investor emails and calls regarding claims process
                      and multiple conferences with J. Rolls and paralegals regarding same (1.00).               2.25

04/12/2021     KMC    Prepare Receiver's Third Status Report (2.75); telephone conference with
                      CFTC (.25); work on identifying new investors who were not sent claim forms
                      and have claims prepared and sent to new investors (2.00); communicate with
                      investors regarding claims (.50); communicate with accountants regarding
                      filing for extension for tax returns (.25).                                                5.75

04/13/2021     KMC    Revise and finalize Receiver's Third Report and have it filed with the Court
                      (1.50); review appraisals of 17 properties in Philadelphia, review offers to
                      purchase several of the properties, and communicate with broker regarding
                      response to offers (1.50); attend to investor questions regarding claims (.50);
                      prepare summary of                                               and send to W.
                      Young to include in                         opposition fo motion by defendant's
                      counsel for motion to modify preliminary injunction (1.00).                               4.50

04/14/2021     KMC    Numerous communications with investors regarding claims (.50); telephone
                      conference with Forge counsel regarding liquidation of investment in SpaceX
                      (.50); communicate with broker regarding offers to purchase properties (.50);
                      review and revise Motion for Show Cause Hearing against Bank of America
                      and communicate with C. Thomas regarding same (1.00); review and pay
                      invoice for appraisals and communicate with second appraiser regarding

                                                                                                         APP 0004
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                         Page 5 of 67 PageID 4682
       Kelly Crawford Receivership - Metals.com                                                                          05/26/2021
                                                                                                         Account No:     16125-101
                                                                                                          Invoice No:      1021661
       Matter 101 - Receiver




                                                                                                                Hours
                      status of appraisals (.50; telephone conference with CFTC regarding status of
                      receivership (.25); prepare Declaration in support of Third Fee Request,
                      finalize Third Fee Request and submit to CFTC for conference purposes (2.00
                      -- no charge); telephone conference with accountants regarding seeking
                      extension for tax returns (.25).                                                            3.25

04/15/2021     KMC    Attend to responding to questions regarding investor claims, finding
                      information regarding claims, and having claims submitted to investors and
                      database updated with information (2.50); receive K-1 's for each of the
                      crowdstreet partnerships and send to accountants for tax return (.25);
                      conference with P. Lewis regarding strategy in responding to defendant's
                      counsel's motion (.25); review deposition of Lucas Asher and
                                                                in response brief and gather
                      suppo ing 1n o a ion or additional factual information and send to team to
                      include in brief (2.00); gather evidence of distributions made by EquityZen
                      after receivership that were returned and communicate with P. Lewis
                      regarding making demand for same upon EquityZen (.50).                                      5.50

04/16/2021     KMC    Prepare letter to defendants' new counsel regarding source of retainer (.50);
                      review email to EquityZen regarding paying money in suspense and
                      communicate with P. Lewis regarding same (.25); conference with P. Lewis
                      and J. Stafford regarding Response to Emergency Motion to Modify Injunction
                      (.25); communicate with CFTC regarding expansion of page limit of Plaintiffs'
                      Responsive Motion (.25); attend to investor calls and emails (1.25);
                      communicate with Bayside regarding distributing metals that were sent in by
                      investors to be liquidated (.50); communicate with P. Lewis regarding email to
                      G. Beesen (.25).                                                                            3.25

04/18/2021     KMC    Review and revise Receiver's Response to Limited Appearance and
                      Emergency Motion to Modify Preliminary Injunction.                                          5.00

04/19/2021     KMC    Revise Response to Limited Appearance and Emergency Motion to Modify
                      Preliminary Injunction and send to team for review (2.00); revise Declaration in
                      support of Response and gather exhibits for Declaration and send to team for
                      review (2.50); conference with P. Lewis regarding Response (.25); telephone
                      conference with CFTC regarding status of receivership (.25); attend to investor
                      calls and emails and investor confirmations (.50).                                          5.50

04/20/2021     KMC    Review and finalize Response to Defendants' Emergency Motion to Modify
                      Preliminary Injunction (3.00); review and finalize Declaration and Appendix in
                      support of Response (1.50); review proposed real estate contract for sale of
                      property in Philadelphia and communicate with broker regarding same (.25);
                      attend to investor calls and emails regarding claims (.50); gather exhibits for
                      contempt motion against Bank of America (.50).                                             5.75

04/21/2021     KMC   Review brief filed by CFTC in response to Emergency Motion filed by
                     Defendants and conference with P. Lewis regarding same (.50); communicate
                     with State of Texas and State of Maine regarding investors who had filed
                     claims and prepare chart listing by States those who have filed claims (.75);
                     prepare Settlement Agreement and Mutual Release for settlement with The
                     Steve and Linda Richman Trust to return a portion of the security deposit
                     received from Defendant Simon Batashvili (1.00); conference with P. Lewis

                                                                                                          APP 0005
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                       Page 6 of 67 PageID 4683
       Kelly Crawford Receivership - Metals.com                                                                         05/26/2021
                                                                                                        Account No:     16125-101
                                                                                                         Invoice No:      1021661
       Matter 101 - Receiver




                                                                                                               Hours
                      regarding response of Fainche's attorney to email for demand for turnover of
                      jewelry hidden from Receiver (.25); attend to investor calls and emails (.75);
                      telephone conference with CFTC regarding receivership and expanding time
                      for investors to return claim forms (.75); telephone conference with former
                      salesperson for Defendants (.25); review, revise, and execute Declaration in
                      Support of Contempt Motion against Bank of America and send to C. Thomas
                      (.50).                                                                                     4.75

04/22/2021     KMC    Conference with C. Thomas regarding filing Show Cause Motion Against Bank
                      of America and review final pleadings and authorize filing (.25); research
                      database regarding potential target of recovery (.75); communicate with States
                      regarding status of claims process (.75); make notes regarding information
                      obtained from former salesman for Defendants and conference with CFTC
                      regarding same (.50); attend to investor calls and emails (.25); communicate
                      with appraiser regarding all of appraisals for Philadelphia properties (.25);
                      review and execute contract for sale of Philadelphia property (.25); conference
                      with M. Simon regarding                               (.25).                               3.25

04/23/2021     KMC    Prepare Motion to Extend Deadlines Under Order Establishing Claims
                      Adjudication Procedures (1.00); prepare Declaration in Support of Motion to
                      Extend (.50); numerous communications with State representatives and
                      paralegal regarding additional investors to add to database and revised
                      contact information for investors (1.50); review offers on two additional
                      Philadelphia properties and execute contracts for sale contingent upon
                      receivership court approval (1.00); issue check to pay for permits for Rhawn
                      Property in Philadelphia and send to contractor (.25).                                    4.25

04/26/2021     KMC    Attend to numerous emails from investors and State representatives regarding
                      investors and filing of claim confirmations and communicate with team
                      regarding same (3.25); telephone conference with former employee of
                      Defendants (.25); revise and finalize Motion to Extend Deadlines Under Order
                      Establishing Claims Adjudication Procedure and send to CFTC for conference
                      and to A. Spencer for conference (.50); telephone conference with CFTC
                      regarding Motion (.25); communicate with A. Spencer regarding him still being
                      attorney of record for Defendants and have Motion filed with the Court (.25);
                      prepare proposed Order granting Motion to Extend and have sent to Judge
                      Lindsay (.50); attend to numerous calls from investors and coordinate same
                      with J. Rolls and Cynthia Morris (.25).                                                    5.25

04/27/2021     KMC    Confer with CFTC regarding fee petition (no charge); attempt to confer with A.
                      Spencer regarding fee petition (no charge); attend to responding to inquiries
                      from States and from investors regarding claims and attend to calls from
                      investors regarding claim (2.50); receive and review letter from G. Besen
                      refusing to disclose source of retainer and communicate with P. Jesani
                      regarding
                                 (.50); review database to gather emails and documents regardin~
                                                                                  (2.50);
                      communicate with Chase Bank regarding access to safety deposit box and
                      send Orders to Chase Bank (.25); communicate with P. Lewis regarding-
                                                     .            .
                      (.25).                                                                                     5.50



                                                                                                         APP 0006
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                        Page 7 of 67 PageID 4684
       Kelly Crawford Receivership - Metals.com                                                                         05/26/2021
                                                                                                        Account No:     16125-101
                                                                                                         Invoice No:      1021661
       Matter 101 - Receiver




                                                                                                               Hours
04/28/2021     KMC    Travel from Dallas to Los Angeles (2.00 - no charge); attend to investor calls
                      and emails (.75); prepare for interview of former employee of Defendants and
                      review documents regarding same (1.00); interview former employee of
                      Defendants and conference with P. Lewis regarding same (2.25).                             4.00

04/29/2021     KMC    Meeting with former employee of Defendants and conference with P. Lewis
                      regarding same (4.00); attend to investor calls and emails (.50); travel from
                      Los Angeles to Dallas (5.00 - no charge).                                                  4.50

04/30/2021     KMC    Telephone conference with CFTC regarding interviews with former employees
                      of Defendants (1.00); attend to numerous emails and calls regarding
                      submission of claims and communicate with team regarding handling of same
                      (3.00); conference with P. Lewis regarding jewelry Fainche did not turn over in
                      violation of the SRO (.25); review and execute contract for sale of Haddington
                      property (.25).                                                                            4.50

05/01/2021     KMC    Revise Motion to Hold Simon Batashvili in Contempt and gather evidence in
                      support of motion and prepare declaration.                                                 5.00
               KMC    Communicate with First Entertainment Bank about having no objection to
                      lifting temporary freeze if bank has confirmed no interest of defendants or
                      relief defendants in the account; communicate with P. Lewis regarding same.                0.25

05/03/2021     KMC    Revise Motion for Show Cause Hearing against Simon Batashvili and
                      Declaration (1.00); telephone conference with CFTC regarding request by
                      Defendants' attorneys for extension of pages for Reply (.25); research records
                      provided by State Farm regarding jewelry owned by Simon and communicate
                      with P. Lewis regarding same (1.00); research records regarding
                                                                                                                             \
                      - - and communicate with P. Lewis regarding same (.50); conference with
                      claims team regarding management of claims (.75); attend to investor calls
                      and emails (.25); begin working on motion to seek approval for sale of
                      properties in Philadelphia and conference with J. Rolls regarding same (.25).             4.00

05/04/2021     KMC    Revise and finalize Motion for Show Cause Order to Hold Defendant Simon
                      Batashvili in Contempt, including Declaration, Appendix, Exhibits, and
                      proposed Order (3.00); conference with P. Lewis and former employee of
                      Defendants (.25); conference with P. Jesani regarding results of le,al
                      research regarding 1q             §     . . . ..                    (.25); work
                      on gathering information for motion to approve sales of 4 properties and pay
                      contractor for permit on Rhawn Street property (1.25); e.repare email to
                                                                               ·and communicate
                      with P. Lewis regarding same (.25); prepare Notice of No Objection for
                      pending motions before Court (.25).                                                       5.25

05/05/2021     KMC    Communicate with Bayside Metals regarding remaining open orders and
                      communicate with L. Sanderson regarding same (.25); prepare letter to new
                      counsel for individual defendants regarding their refusal to provide the source
                      of their retainer and review research and case law in support of letter (1.50);
                      telephone conference with CFTC regarding possible contempt by Defendants
                      (.50); communicate with Morgan Stanley to provide information for liquidation
                      of equity investment (.25); communicate with P. Lewis regarding Richman's
                      comments to settlement agreement (.25); communicate with bank regarding it
                      lifting temporary hold and communicate with P. Lewis regarding same (.25).                3.00

                                                                                                         APP 0007
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                        Page 8 of 67 PageID 4685
       Kelly Crawford Receivership - Metals.com                                                                           05/26/2021
                                                                                                          Account No:     16125-101
                                                                                                           Invoice No:      1021661
       Matter 101 - Receiver




                                                                                                                 Hours

05/06/2021     KMC                  • • • • • • •1(2.00); research·····(1.00).                                     3.00

05/07/2021     KMC                                         (1.00); telephone conference with CFTC
                      and States regarding contempt by Defendants (0.75); send scripts used by
                      Defendants to Alabama investigator per their request (.25); receive Order from
                      Court extending claim bar date until June 15, 2021 and publish on receivership
                      website and notify State representatives (.50);                                              2.50

05/10/2021

05/11/2021     KMC    Send email to A. Spencer regarding contempt of Simon (.25); telephone
                      conference with A. Spencer regarding contempt of Simon (.25); revise Motion
                      for Show Cause Against Simon for Contempt (.50); communicate with CFTC
                      regarding certificate of conference with respect to contempt motion(.25);
                      conference with P. Lewis regarding Reply to Receiver's Response to Motion to
                      Modify and regarding
                                                                        (.25); work on motion for
                      aut ority to sell 4 Philadelphia properties and conference with J. Rolls
                      regarding same (.75); issue checks pursuant to Order Authorizing Receiver's
                      Fee Petition and send W-9 to Morgan Stanley for receivership to send
                      payment (.25).                                                                               2.50

05/12/2021     KMC    Telephone conference with Arnold Spencer conferring regarding contempt
                      motion (.25); revise contempt motion, declaration, and appendix (1.00);
                      telephone conference with CFTC regarding conference with A. Spencer (.25);
                      conference with P. Lewis regarding demand upon attorney for Fainche
                      McCarthy for turnover of jewelry and.I!!••······~~
                               I'                      5(1.25); telephone conference with former
                          I
                      emp oyee (.25); revise motion for authority to sell 4 Philadelphia properties and
                      send to CFTC for purposes of conferencing (.75); telephone conference with
                      Morgan Stanley regarding stock sale of Palantir and AirBNB shares to be
                      issued (.25); review receivership website regarding new deadlines and have
                      notice of right to file claim revised to reflect new deadlines (.25).                        4.00

05/13/2021     KMC    Revise and finalize Motion for Contempt against Simon Batashvili for filing with
                      the court (.75); prepare email response to A. Spencer regarding contempt by
                      Simon (.25); communicate with J. Rolls regarding motion to sell properties in
                      Philadelphia and preparing appendix in support of motion (.25); conference
                      with team regarding total number of claims filed and communicate with CFTC
                      regarding same (.25); research
                      (1.00); research                  (1.00); conference with P. Le ·




                                                                                                                   5.50

05/14/2021     KMC    Continue research of database of records and online regardin91•••
                     -       (2.00); telephone conference with CFTC regarding motion for contempt

                                                                                                           APP 0008
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                         Page 9 of 67 PageID 4686
       Kelly Crawford Receivership - Metals.com                                                                          05/26/2021
                                                                                                         Account No:     16125-101
                                                                                                          Invoice No:      1021661
       Matter 101 - Receiver




                                                                                                                Hours
                      against S. Batashvili      (1.25); conference with associate regarding motion to
                      compel against Defendants attorneys for their refusal to reveal source of
                      retainer in violation of receivership orders (.25); conference with paralegal
                      regarding metal values and calculating claims (.75); receive AMEX records
                      and begin review (.25); respond to inquiries from States regarding claimants
                      (.25).                                                                                      4.50

05/15/2021     KMC    Gather information regarding $1 OOk investment in National Training Services
                      and prepare letter to managers of LLC regarding receivership (.75); gather
                      information regarding C. Daigle and prepare letter to C. Daigle regarding
                      receivership (.75); gather information regarding monies transferred to
                      MagicStar Arrow and prepare letter to C. Cruz regarding same (.75); gather
                      information regarding P. Coyne and prepare letter to P. Coyne regarding
                      receivership (.75); continue working o                               (.75).                 3.75

05/17/2021     KMC    Gather information regarding transfers to MagicStar Arrow and revise letter to


                                                                  ••I
                      Carlos Cruz (1.00); conference with D. Dyer regarding
                                                                        and gather information
                      regarding brokers to send to D. Dyer                               (2.00);
                      telephone conference with CFTC (1.00); con erence with P. Lewis regarding
                      numerous ending receivership issues and strateg for
                                        .50); investigate
                                           (.25); conference with paralegal regarding metals
                      calculations (.25).                                                                         5.00

05/18/2021     KMC    Research forensic accounting for transfers of assets (2.00); prepare letter to
                      Gretchen Clark requesting information regarding value provided to Defendants
                      in exchange for monies received (.50); communicate with attorneys for
                      Defendants regarding whether they oppose a motion to compel information
                      about the source of their retainer and communicate with P. Lewis regarding
                      same (.50); communicate with A. Spencer regarding Defendant Batashvili's
                      failure to turn over monies and misrepresentation made regarding intent to
                      turnover monies (.25); communicate with California franchise tax office

                                                               •..
                      regarding claims process (.25); communicate with D. Dyer regarding

                                      I   .75).                                                                  4.25

05/19/2021     KMC   Telephone conference with CFTC (.50); conference with P. Lewis regarding
                     call with G. Beesen regarding refusal to reveal source of retainer (.25); review
                     and revise list of metals that still need values and conference with paralegal
                     regarding same (. 75); review and revise motion for approval of sale of four
                     properties and conference with J. Rolls regarding same (.50); communicate
                     with investors and creditors regarding claims forms (.25); prepare 1··
                                              and send to P. Lewis (.25).                                        2.00

05/20/2021     KMC   Research database for                                              (2.75);
                     review and revise list of metals in which values are required and send to CFTC
                     (.50); prepare proposed Order to Approve Appraisers and Appraisals and Set
                     Hearing for Approval of Sale of Four Properties and finalize motion and
                     appendix and have filed with the Court (.75).                                               4.00

05/24/2021     KMC   Conference with Avi regarding review of AMEX statements (.25); research

                                                                                                          APP 0009
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                    Page 10 of 67 PageID 4687
       Kelly Crawford Receivership - Metals.com                                                                           05/26/2021
                                                                                                       Account No:        16125-101
                                                                                                        Invoice No:         1021661
       Matter 101 - Receiver




                                                                                                              Hours

                                                                                (1.50); conference
                      with paralegal regarding                                  (.25); research
                      •••1(.50);        research in database other potential investments by
                      defendants (.50); communicate with W. Young regarding monies TriNet needs
                      to turn over to receivership (.25).                                                          3.25

05/25/2021      KMC   Work on gathering information regarding              and send email to
                      attorneys for D. Bleeden (1.50); conference with paralegals regarding
                      nonmetal claims (.25); telephone conference with CFTC (.50); communicate
                      with Trinet regarding need to turnover balance of payroll funds (.25);
                      conference with paralegal regarding claim calculations (.25).                                2.75
                      For Current Services Rendered                                                          223.35        87,106.50

                                                         Recapitulation
                Timekeeper                                             Hours      Hourly Rate              Total
                Kelly M. Crawford                                     223.35         $390.00         $87,106.50


                      Total Current Services and Expenses                                                                  87,106.50

                      Previous Balance before Adjustments                                                                 $72,676.50

05/11/2021            Write off per KMC                                                                                   -14,535.30

                      Previous Balance                                                                                    $58, 141.20



05/11/2021            Payment - thank you Check #1029                                                                     -58,141.20


                      Balance Due                                                                                         $87,106.50




                      TERMS: Due and Payable Upon Receipt

                                                                                                        APP 0010
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                          Page 11 of 67 PageID 4688

     Scheef & Stone, L.L.P.
     500 N. Akard, Suite 2700
     Dallas, Texas 75201                                  fJOLID COUNSEL




                                                              INVOICE


     Kelly Crawford Receivership - Metals.co                                                     Statement Date:        05/26/2021
                                                                                                     Account No.        16125.102
                                                                                                       Invoice No.        1021662




       Matter 102 - Representation of Receiver




                                                                                                                 Hours
03/26/2021      JLR   Answer call from Investor Victim, C. Harris, regarding no receipt of the
                      Receivership Questionnaire; Draft and send email to the same with the
                      attached Receivership Questionnaire.                                                           0.25
               JLR    Answer call from Investor Victim, R. Rasbury, regarding submission of her
                      Receivership Questionnaire and emailed supporting documents; Confirm
                      receipt of the same; Prepare the documents for entrance into database.                         0.50
               JLR    Answer the call of Investor Victim, J. Vishon, to assist him further with
                      completing the Questionnaire over the telephone; Address his issues with
                      faxing supporting documentation; Answer questions as to his wife, G. Vishon's
                      investment with Chase Metals.                                                                  0.50
               JLR    Return the call of Investor Victim, W. Johnston, regarding needing his metals
                      information; Complete the Questionnaire with him over the telephone; Draft
                      and send subsequent email detailing upcoming deadlines and dates.                              0.50
               JLR    Answer return phone call of Investor Victim, J. Vishon, requesting that he
                      complete a Receivership Questionnaire in addition to his wife's previously
                      completed Questionnaire; Complete the Questionnaire over the telephone.                        0.50
               PKJ    Review caselaw pertaining to issue of
                                                                                              in
                      preparation for assisting with responding to Defendants' anticipated motion.                   1.50
               AE     Review, revise, finalize, and process claims and send out claims to investors.                 9.00

03/27/2021     AE     Review, revise, finalize, and process claims and send out claims to investors.                 8.50

03/28/2021     AE     Review, revise, finalize, and process claims and send out claims to investors.                 2.00

03/29/2021     JLR    Locate the completed Questionnaire and supporting document of Investor
                      Victim, R. Gault, for K. Crawford; Provide the same.                                           0.25
               JLR    Answer call from Investor Victim, C. Harris, regarding question as to the
                      Receivership's recovery and the submission of his completed Receivership
                      Questionnaire and supporting documents.                                                        0.25
               JLR    Answer telephone call from Investor Victim, M. Alexander, regarding confusion
                      as to a form he received from the state of California regarding completion of
                      the Claim Form.                                                                                0.25



                                                                                          ea
                                                                                          EXHIBIT
                                                                                  l!
                                                                                  i                        APP 0011
   Case 3:20-cv-02910-X Document 282 Filed 07/16/21                         Page 12 of 67 PageID 4689
Kelly Crawford Receivership - Metals.com                                                                          05/26/2021
                                                                                                  Account No:     16125-102
                                                                                                   Invoice No:      1021662
Matter 102 - Representation of Receiver




                                                                                                         Hours
        JLR    Receipt and review of email correspondence from Investor Victim, M.
               Alexander, providing the attached forms from the California state agency for
               review as he is confused.                                                                   0.25
        JLR    Locate the completed Receivership Questionnaire and supporting documents
               for Investor Victim, W. Deale, at the request of K. Crawford.                               0.25
        JLR    Return the call of Investor Victim, M. Alexander, regarding the claim form sent
               by the California state agency after conferring with K. Crawford.                           0.25
        JLR    Return the call of Investor Victim, M. Eppley, regarding no receipt of the Claim
               Form and confirm completion of the Receivership Questionnaire; Draft and
               send subsequent email with attached Questionnaire to the same.                              0.25
        JLR   Answer call from Investor Victim, J. Raganswood, regarding no receipt of the
               Claim Form; Explain to the same that the Claim Form will be mailed by April 1
               and receipt will follow.                                                                    0.25
        JLR    Return the call of Investor Victim, J. Tutors, regarding no receipt of the Claim
               Form; Explain the timeline for Claim Form and confirm completion of the
              Receivership Questionnaire; Schedule time to call back and complete the
               Questionnaire over the telephone.                                                           0.25
        JLR   Return the call of Investor Victim, P. Wray, regarding her metals.com and New
              Direction investment.                                                                        0.25
        JLR   Return the call of Investor Victim, V. Ellisoral, regarding questions as to Claim
              Form.                                                                                        0.25
        JLR   Complete the Receivership Questionnaire of Investor Victim, J. Tuders, over
              the telephone.                                                                              0.25
       JLR    Receipt and review of email correspondence from Investor Victim, M. Eppley,
              with completed Receivership Questionnaire attached; Draft and send
              responsive email confirming receipt of same; Prepare the Receivership
              Questionnaire and supporting documents and provide to K. Crawford.                          0.25
       JLR    Return the call of Investor Victim, N. Anderson, regarding confirmation of
              receipt of Receivership forms v. state agency forms; Leave voicemail.                       0.25
       JLR    Return the call of Investor Victim, C. Graphender, regarding her request for
              help with completing the forms; Schedule call to call her back and assist.                  0.25
       JLR    Return the call of Investor Victim, T. Mason, regarding getting involved in
              Metals.com Receivership; Leave voicemail.                                                   0.25
       JLR    Complete the Receivership Questionnaire with Investor Victim, S. Hollatz, over
              the telephone; Provide to K. Crawford.                                                      0.25
       JLR    Call Investor Victim, M. Hanson, to get her correct mailing address; Provide
              the same to K. Crawford.                                                                    0.10
       JLR    Call Investor Victim, M. Russell, to ascertain her metals purchase information
              at the request of K. Crawford; Voicemail was inoperable; Draft and send
              subsequent email to the same with attached Receivership Questionnaire to be
              completed.                                                                                  0.25
       JLR    Answer call from Investor Victim, C. Graffunder, to assist with completing the
              Receivership Claim Form.                                                                    0.25
       JLR    Return the call of Investor Victim, H. Mathews, regarding questions as to his
              metals; Answer the same.                                                                    0.25
       JLR    Answer the return call of investor victim, C. Graffunder, regarding the
              California State Agency Form; Answer her confusion.                                         0.25
       AE     Review, revise, finalize, and process claims and send out claims to investors.              7.75
       LMS    Return calls to investors.                                                                  1.00
       PCL    Communications with K. Crawford and J.Buffa regarding City National Bank,
              Forge issues and related file review.                                                       1.30



                                                                                                  APP 0012
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                         Page 13 of 67 PageID 4690
       Kelly Crawford Receivership - Metals.com                                                                             05/26/2021
                                                                                                            Account No:     16125-102
                                                                                                             Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                                   Hours
03/30/2021      JLR    Multiple telephone calls with Investor Victim, E. Faigen, regarding receipt of
                       the Receivership Questionnaire and correction of the same; Draft and send
                       subsequent email to the same detailing upcoming dates and deadlines.                          0.50
                JLR    Return the call of and complete the Receivership Questionnaire of Investor
                       Victim, R. Rhyne, over the telephone; Draft and send responsive email to the
                       same with upcoming dates and deadlines.                                                       0.25
                JLR   Answer call from Investor Victim, N. Anderson, regarding confirmation of
                       receipt of Receivership Questionnaire and upcoming dates and deadlines;
                       Draft and send subsequent email to the same confirming receipt.                               0.25
                JLR    Receipt and review of email from K. Crawford regarding locating the
                       completed Questionnaire and supporting documents of Investor Victim, E.
                       Lockwood.                                                                                     0.25
                JLR    Return the call of potential Investor Victim, R. Rosenbloom, regarding
                       non-precious metals class; Confer with K. Crawford regarding the same; Make
                       return call to the same with information as to participation.                                 0.25
               JLR     Return the call of potential Investor Victim, H. Frenzel, regarding his receipt of
                      a notice from K. Crawford; Leave voicemail.                                                    0.25
               JLR    Receipt and review of email from Investor Victim, M. Harris, with completed
                      Receivership Questionaire; Prepare and provide to K. Crawford; Call M. Harris
                      as requested to confirm receipt of the same.                                                   0.25
               JLR     Draft and send email correspondence to Investor Victim, D. Fitzgerald,
                      requesting a valid mailing address so we may send the Claim Form.                              0.25
               JLR    Answer return call from potential non-precious metals Investor Victim, H.
                      Frenzel, regarding confusion over the Notice.                                                  0.25
               JLR    Receipt and review of email from Investor Victim, C. Harris, with attached
                      completed Receivership Questionnaire and supporting documents; Call the
                      same to confirm receipt.                                                                       0.25
               JLR    Telephone call to Investor Victim, M. Erickson, requesting correct mailing
                      address for the Claim Form to be mailed to; Provide the same to K. Crawford.                   0.25
               JLR    Answer the call of Investor Victim, D. Burch, regarding the Claim Form.                        0.25
               JLR    Return the call of Investor Victim, C. Del Monico, answering her questions as
                      to completing the Claim Form.                                                                  0.25
               JLR    Answer the call of Investor Victim, T. Mason, regarding participating in the
                      Receivership; Draft and send responsive email to the same with attached
                      Receivership Questionnaire to be completed.                                                    0.25
               JLR    Receipt and review of email correspondence from Investor Victim, D.
                      Fitzgerald, providing correct mailing address; Provide the same to K.
                      Crawford; Draft and send responsive email to the same confirming receipt.                     0.25
               JLR    Multiple telephone calls with Investor Victim, C. Graffunder, regarding
                      confirmation of her faxed completed Claim Form; Prepare and provide to K.
                      Crawford; Confirm receipt of the same with C. Graffunder.                                     0.50
               JLR    Telephone call to Investor Victim, S. Griffin, confirming submission of his
                      complete Receivership Questionnaire; Confer with K. Crawford regarding the
                      same.                                                                                         0.25
               JLR    Return the call of Investor Victim, M. Smith, regarding the Claim Form.                       0.25
               JLR    Answer the call of Investor Victim, M. Zunich, regarding return of his monies;
                      Explain the claims process and provide upcoming dates and deadlines
                      information for the Claim Form.                                                               0.25
               AE     Review, revise, finalize, and process claims and send out claims to investors.               11.25
               LMS    Return calls to investors                                                                     2.75

03/31/2021     JLR    Answer the call of Investor Victim, S. Derby, regarding questions as to the

                                                                                                             APP 0013
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                          Page 14 of 67 PageID 4691
       Kelly Crawford Receivership - Metals.com                                                                             05/26/2021
                                                                                                            Account No:     16125-102
                                                                                                             Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                                   Hours
                       Confirmation Form receipt and completion.                                                    0.25
                JLR    Return the call of potential Investor Victim, V. Ellisor, regarding whether or not
                       she has a claim in the Receivership; Determine she was only a lead in
                      Defendant's Records.                                                                           0.25
                JSS   Initial review of Emergency Motion to Modify Preliminary Injunction filed on
                      behalf of individual defendants.                                                               0.50
                JSS   Telephone conference with P. Jesani regarding research of case law
                      regarding Defendant's Emergency Motion to Modify Preliminary Injunction.                       0.25
                JSS   Inter-office conference with Peter Lewis regarding Defendant's Emergency
                      Motion to Modify Preliminary Injunction to confer on litigation strategy.                      0.50
               JLR    Answer the call of Investor Victim J. Raganswood, regarding Fedex of
                      supporting documents as there is an issue with receipt; Explain the same and
                      discuss upcoming Claim Form.                                                                   0.25
               JLR    Answer call from Investor Victim, M. Smith, regarding questions as to how to
                      complete the state Claim Form.                                                                 0.25
               JLR    Receipt and review of email from Investor Victim, M. Smith, with attached
                      completed Claim Form; Draft and send email confirming receipt of the same.                     0.25
               JLR    Answer call from Investor Victim, S. Derby, regarding issues with completing
                      the Claim Form; Address the same with K. Crawford as to docusign.                              0.25
               JLR    Answer call from Investor Victim, M. Livesay, to receive correct mailing
                      address; Provide the same to K. Crawford.                                                     0.25
               AE     Review, revise, finalize, and process claims and send out claims to investors.                8.75
               BBN    Receipt and Review Emergency Motion to Modify Preliminary Injunction and
                      analyze arguments therein                                                                     0.75
               PKJ    Initial review and analysis of Defendants' Emergency Motion to Modify
                      Preliminary Injunction and Notice of Limited Appearance (.75); Review,_

                                                                                                                    1.00
               PKJ      e ephone conference with J. Stafford regarding research relating to issues
                      raised in Defendants' Emergency Motion to Modify Preliminary Injunction.                      0.25
               PCL    Communications with K. Crawford, R. Foelber and J. Buffa regarding
                      emergency motion to modify injunction and begin related review(.80);
                      communications with C.Park regarding Forge inquiry(.2); review and finalize
                      response to S.Richman regarding security deposit(.4);communications with
                      with B. Neuwirt, K.Crawford, J.Rolls, J. Stafford, P.Jesani and/or W.Young
                      regarding Emergency Motion to Modify Injunction and related review (.5).                      1.90

04/01/2021     JLR    Receipt and review of multiple correspondences from Investor Victim, J.
                      Lindemuth, regarding no receipt of the Claim Form; Draft and send responsive
                      email addressing his concerns as to receipt.                                                  0.25
               JLR    Receipt and review of email from Investor Victim, E. Lockwood, inquiring as to
                      whether or not the Receiver needs additional information; Draft and send
                      email detailing upcoming Claim Form dates and deadlines.                                      0.25
               JLR    Answer the call of Investor Victim, M. Radney, requesting advice as what to do
                      with her metals; Provide the response of K. Crawford and inform her as to the
                      upcoming Claim Form dates and deadlines.                                                      0.25
               JLR    Receipt and review of package from Investor Victim, J. Raganswood, with
                      provided supporting documentation; Provide to K. Crawford.                                    0.25
               JLR    Answer call from Investor Victim, S. Derby, regarding the Claim Form and
                      docusign.                                                                                     0.25
               JLR    Return the call of Investor Victim, S. Derby, regarding issues with the Claim
                      Form; Draft and send email with attached Claim Form to be completed.                          0.25

                                                                                                             APP 0014
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                     Page 15 of 67 PageID 4692
       Kelly Crawford Receivership - Metals.com                                                                        05/26/2021
                                                                                                       Account No:     16125-102
                                                                                                        Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                              Hours
                JLR Return the call of Investor Victim, L. Minehart, regarding issues with the Claim
                    Form; Draft and send email with attached Claim Form to be completed.                        0.25
               JLR  Multiple telephone calls with Investor Victim, S. Silverman, to request correct
                    mailing address for Claim Form; Provide to K. Crawford.                                     0.25
               JLR Answer the return call of Investor Victim, T. Burchett.                                      0.25
               DEB Exchange of correspondence with Northwestern Mutual regarding the direct
                   web payment made by Simon Batashvili.                                                        0.10
               JLR Prepare metals purchase information of Investor Victim, J. Raganswood, from
                   the recently provided purchase documents provided by Investor; Provide
                   summary of metals purchase to K. Crawford for Claim Form; Leave message
                   with Investor confirming receipt of the supporting documents package.                        0.50
               PKJ Attend zoom meeting with litigation team to discuss strategy and workflow with
                   respect to responding to Defendants' Emergency Motion to Modify Preliminary
                   Injunction and Affidavits and Notice of Limited Appearance.                                  1.00
               JSS Continue review and analysis of Defendant's Emergency Motion                                 0.25
               JSS Telephone conference with P. Lewis and litigation team discussing case
                   strategy and response                                                                        1.00
               JLR Draft and send email to Investor Victim, D. Burch, with attached Claim Form
                   for completion.                                                                              0.25
               JLR Return the call of Investor Victim, D. Burch, regarding receipt of the Claim
                   Form and completion of the same.                                                             0.25
               JLR Receipt and review of email correspondence from Investor Victim, M.
                   Alexander, regarding completing of the State Claim Form; Receipt and review
                   of voicemail from Investor Victim, M. Alexander, regarding further questions as
                   to completing the State Claim Form.                                                         0.25
               JLR Answer call from Investor Victim, G. Hayes, regarding completion of
                   Questionnaire on behalf of his Mother, J. Hayes; Confirm prior receipt and
                   detail the Claim Form Process.                                                              0.25
               JLR Draft and send email correspondence to Investor Victim, G. Hayes, on behalf
                   of mother J. Hayes, with attached Claim Form.                                               0.25
               JLR Answer the call of Investor Victim, P. Griffin, regarding Claim Form.                       0.25
               WSY Review of Individual Defendants' Motion to Modify Agreed Temporary
                   Injunction Order and                        (1.4); Confer with team regarding
                   response to Motion and objectives for the same (1.0).                                       2.40
               AE
               PKJ ~onduct research regarding j           JI I ] ' I ·          !FJJT ?J
                                                                              j I
                      1researching issues raised in Defendants' Emergency Motion to Modify
                                                                                             Ii
                   Review, revise, finalize, and process claims and send out claims to investors.
                                                                      qp                                      10.25



                      Preliminary Injunction pertaining to carve outs for defense fees.                        1.50
               PCL    Communications with K. Crawford and/or S. Richman regarding return of
                      Conway security deposit issues and related file review (.8); Communications
                      with K. Crawford regarding emergency motion to modify injunction
                      development and related review of same (.7) continued review of emergency
                      motion to modify injunction, work on response outline and related
                      communications with B. Neuwirt, K.Crawford, J.Rolls, J. Stafford, P.Jesani
                      and/or W.Young regarding same (.2).                                                      1.70
               PCL    Communications with with B. Neuwirt, K.Crawford, J. Stafford, P.Jesani and/or
                      W.Young regarding Emergency Motion to Modify Injunction and related review.              1.00
               PCL    Communications with D. Baer,K. Crawford regarding offer on Philadelphia
                      property-.30                                                                             0.30

04/02/2021     BBN     Review outline from P. Lewis regarding strategy for Response to Emergency

                                                                                                       APP 0015
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                      Page 16 of 67 PageID 4693
       Kelly Crawford Receivership - Metals.com                                                                         05/26/2021
                                                                                                        Account No:     16125-102
                                                                                                         Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                               Hours
                      Motion to Modify Preliminary Injunction; Research arguments related to
                                                                                                                 0.75
                LMS   Continue work on in-process transactions with Bayside Metals and
                      communications with Kelly Crawford regarding same                                          3.25
                PKJ   Review outline from P. Lewis regarding strategy for Response to Emergency
                      Motion to Modify Preliminary Injunction (.25); Continued review and analysis
                      of caselaw pertaining to

                PCL
                      a          a   (1)
                      Follow up of communications with K. Crawford regarding emergency motion to
                                                                                                                 1.25

                      modify injunction development and related review of same (.4); review
                      emergency motion, continue preparation of response outline and related
                      communications with B. Neuwirt, J. Rolls, P.Jesani, K. Crawford, W. Young
                      and/or J. Stafford regarding same (.9).                                                    1.30

04/03/2021      PCL   Communications with K.Crawford regarding proposed response to S. Richman
                      regarding Conway security deposit return, and related drafting of same and file
                      review(.?); communications with K. Crawford regarding response to D. Spitzer
                      regarding representation, etc issues, and related drafting of email and
                      research (.8).                                                                             1.50

04/05/2021     JLR    Answer call from Investor Victim, L. Minehart, regarding questions as to
                       completing the Claim Form.                                                               0.25
               JLR    Answer call from Investor Victim, T. Case, regarding no receipt of Claim Form;
                       Speak with K. Crawford regarding response and process to the same.                       0.25
               JLR    Answer call from Investor Victim, W. Hodges, regarding completing the Claim
                       Form over the telephone.                                                                 0.25
               JLR    Answer telephone call from Investor Victim, C. Dobrin, regarding the Claim
                      Form.                                                                                     0.25
               JLR    Answer telephone call from Investor Victim, R. Rasbury, regarding Claim
                      Form.                                                                                     0.25
               JLR    Receipt and review of email from Investor Victim, W. Hodges, with completed
                      Claim Form attached; Draft and send responsive email to the same confirming
                      receipt; Prepare for record.                                                              0.25
               JLR    Answer call from Investor Victim, W. Hodges, seeking a confirmation of
                      receipt of the Claim Form and supporting documents; Confirm the same;
                      Detail my prior email and provide the timeline of dates and events moving
                      forward.                                                                                  0.25
               JLR    Answer telephone call from Investor Victim, J. Ihrke, regarding no receipt of
                      the Claim Form; Address his questions and concerns as to the same.                        0.25
               JLR    Receipt and review of email from Investor Victim, J. Hayes, with attached
                      completed Claim Form; Draft and send responsive email confirming receipt;
                      Prepare for record.                                                                       0.25
               JLR    Receipt and review of email correspondence from Investor Victim, M. Smith,
                      regarding submission of the Claim Form; Draft and send responsive email to
                      the same with upcoming timeline.                                                          0.25
               JLR    Answer call from Investor Victim, R. Sproul, regarding Claim Form.                        0.25
               JLR    Receipt and review of email from Investor Victim, G. Rasmussen, regarding
                      completed attached Receivership Questionnaire; Confirm with K. Crawford
                      receipt and entrance into supplemental database.                                          0.25
               JLR    Receipt and review of email correspondence from Investor Victim, K. Smith,
                      inquiring as to if any further information or forms are due; Draft and send
                      responsive email to the same.                                                             0.25

                                                                                                         APP 0016
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                        Page 17 of 67 PageID 4694
       Kelly Crawford Receivership - Metals.com                                                                          05/26/2021
                                                                                                         Account No:     16125-102
                                                                                                          Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                                Hours
                JLR Receipt of and listen to voicemail from Investor Victim, J. Raganswood,
                    regarding no receipt of the Claim Form; Return call and leave voicemail.                      0.25
               JLR Answer call from Investor Victim, J. Raganswood, regarding Claim Form;
                   Address her concerns regarding the same.                                                       0.25
               JLR  Return the calls of Investor Victim, M. Alexander, regarding completion of the
                    Claim Form; Answer questions as to the same.                                                  0.25
               JLR Receipt and review of email correspondence from Investor Victim, T. Mason,
                   with attached completed Receivership Questionnaire and supporting
                   documents.                                                                                     0.25
               JLR Receipt and review of email correspondence from Investor Victim, H. Podany,
                   with the attached completed Receivership Questionnaire.                                        0.25
               JLR Answer call from K. Dykhoff of Edward Jones on behalf of Investor Victim,
                   Lyman W. John, regarding Claim Form; Draft and send responsive email to
                   the same.                                                                                      0.25
               JLR Return the call of Investor Victim, R. Holmi, regarding questions as to
                   completing the Claim Form; Assist with completing the same.                                   0.25
               JLR Receipt and review of subsequent email correspondence from Investor Victim,
                   K. smith, regarding upcoming dates and deadlines.                                             0.25
               WSY Review assignments for response to Motion to Carve-Out Attorney's Fees
                   from Receivership estate (.2); Begin research regarding case law cited in
                   Defendants' Motion (3); Review background relatin to
                                                                          (.6).                                  3.80
               AE  Review, revise, inalize, an process claims and send out claims to investors.                  8.75
               LMS Return investor calls and assist with investor questionnaire                                  1.50
               PKJ Review and analysis of caselaw cited in Defendants' Motion to Modify
                   regarding Defendants' ability to unfreeze assets to pay their attorneys' fees.                1.75
               PCL Communications with K. Crawford and S. Richman regarding response to S.
                   Richman regarding Conway security deposit return and potential resolution,
                   (.3); continue communications with K. Crawford regarding response to D.
                   Spitzer regarding representation, etc., issues, drafting of email and
                   research(.2); receipt of email from AT & T regarding (possibly) telephone
                   number access and related communications with C. Clinger regarding
                   same(.2);communications with J. Hammel, K. Crawford and D. Baer regarding
                   offers on Rosemar, Chew(.3); continue review of Emergency Motion to Modify
                   Injunction issues, communications with B. Neuwirt, J.Rolls, P.Jesani,K.
                   Crawford, W. Young and/or J. Stafford regarding same (.4).                                    1.40

04/06/2021     JLR    Answer call from Investor Victim, G. Hayes on behalf of J. Hayes, regarding
                      confirmation of Claim Form receipt; Confirm.                                               0.25
               JLR    Answer call from Investor Victim, J. Gearhart, regarding metals errors in his
                      Claim Form; Address with K. Crawford; Schedule call with Investor to correct
                      metals information.                                                                        0.25
               JLR    Answer call from Investor Victim, J. Lindenmuth, regarding questions as
                      completing the Claim Form.                                                                 0.25
               JLR    Interoffice Zoom Conference led by P. Lewis regarding preparation and
                      drafting of Emergency Motion Response.                                                     0.70
               JLR    Receipt and review of email from Investor Victim, M. Alexander, with attached
                      completed Claim Form; Prepare and provide to K. Crawford; Draft and send
                      responsive email to same confirming receipt.                                               0.25
               JLR    Return the call of Investor Victim, J. Lindenmuth, to assist with completing the
                      Claim Form over the telephone.                                                             0.25
               JLR    Answer the call of Investor Victim, C. Robinson, regarding the Claim Form;

                                                                                                         APP 0017
   Case 3:20-cv-02910-X Document 282 Filed 07/16/21                       Page 18 of 67 PageID 4695
Kelly Crawford Receivership - Metals.com                                                                       05/26/2021
                                                                                               Account No:     16125-102
                                                                                                Invoice No:      1021662
Matter 102 - Representation of Receiver




                                                                                                      Hours
            Answer the same.                                                                           0.25
       JLR Return the call of Investor Victim, M. Zunich, regarding issues with completing
            the Claim Form.                                                                             0.25
       JLR  Return the call of Investor Victim, D. Burch, regarding the Claim Form and
            questions as to submission of the same.                                                     0.25
       JLR  Receipt and review of email correspondence from Investor Victim, R. Rhyne,
            regarding submission of the Claim Form; Draft and send responsive email to
           the same.                                                                                    0.25
       JLR Return the call of Investor Victim, D. Grady, regarding errors in his Exhibit A
            metals information and completing the Claim Form; Draft and send email to L.
            Sanderson regarding the pending metals portion of D. Grady's claim.                         0.50
       DEB Preparation of correspondence to First Entertainment Credit Union on behalf
            of the Receiver regarding Receivership Orders and account freeze.                           0.40
       JLR Answer call from Investor Victim, J. Gearheart, regarding completion of his
            Investor Confirmation over the telephone; Explain the email received from K.
            Crawford.                                                                                   0.25
       JLR Return the call of Investor Victim, M. Blivin, regarding receipt of Investor
           Confirmation and questions as to the same.                                                   0.25
       JLR Receipt and review of fax correspondence from Investor Victim, R. Rhyne,
            providing completed Investor Confirmation; Draft and send email to the same
           confirming receipt.                                                                          0.25
       JLR Answer the return call of Investor Victim, M. Blivin, to answer his questions
            regarding the Investor Confirmation.                                                        0.25
       JLR Return the call of Investor Victim, K. Moreno, to assist with completing the
           Investor Confirmation over the telephone.                                                    0.25
       JLR Return the call of Investor Victim, D. Grady, to assist with helping him
           complete the Investor Confirmation over the telephone.                                       0.25
       JLR Answer call from Investor Victim, G. Thomas, to assist with completing the
           Investor Confirmation.                                                                       0.25
       JLR Receipt and review of email correspondence from Investor Victim, K. Smith,
           regarding confusion as to receiving the State Form and the Investor
           Confirmation; Draft and send responsive email to the same explaining the
           duplication.                                                                                 0.25
       JLR Answer return call from Investor Victim, K. Moreno, regarding Investor
           Confirmation.                                                                               0.25
       JLR Receipt and review of email correspondence from Investor Victim, J.
           Lindenmuth, with attached completed Investor Confirmation; Draft and send
           responsive email to the same confirming receipt.                                            0.25
       JLR Answer return call from Investor Victim, G. Thomas, seeking confirmation of
           receipt of completed Investor Confirmation; Confirmed receipt with K.
           Crawford; Confirm with Investor.                                                            0.25
       JLR Return the call of Investor Victim, M. and K. Ley, regarding questions as to
           completing the Investor Confirmation.                                                       0.25
       WSY Participate in call with metals.com team to discuss updates as to Response to
           Defendants' Motion to Carve out Attorney's Fees from the Receiver's Estate.                 0.70
       JLR Receipt and review of email from Investor Victim, K. Moreno, with partial
           attached completed Investor Confirmation; Draft and send responsive email to
           the same addressing missing front page of Investor Confirmation.                            0.25
       MHS Conference with Receiver regarding                              (.2); emails with
           attorney for Belichenko regarding same (.2).                                                0.40
       BBN Teams Meeting led by Peter Lewis to discuss strategy for Response to
           Emergency Motion to Modify Preliminary Injunction                                           0.70

                                                                                               APP 0018
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                       Page 19 of 67 PageID 4696
       Kelly Crawford Receivership - Metals.com                                                                          05/26/2021
                                                                                                         Account No:     16125-102
                                                                                                          Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                                Hours
                BBN   Research case law addressing
                                                                                                                  2.25
                PKJ   Participate in Teams meeting led by Peter Lewis to discuss strategy and
                      status of research relating to Response to Defendants' Motion to Modify
                      Preliminary Injunction.                                                                     0.75
                PKJ   Review and analysis of cases cited in Defendants' Motion to Modify
                      Preliminary Injunction and research case law relatin t
                                                                                                                  2.00
                PKJ

                                                                                                                  0.75
                PCL   Communications with K. Crawford, J. Day and A. Lieberman regarding
                      EquityZen account access issues(.2); continue review of Emergency Motion to
                      Modify Injunction issues, communications with B. Neuwirt,P.Jesani,K.
                      Crawford, W. Young and/or J. Stafford regarding same and draft email to G.
                      Besen regarding details of proposed relief and related file review(.8);
                      communications with K.Crawford regarding outstanding issues.                                0.30

04/07/2021     JLR    Return the call of Investor Victim, K. Moreno, to address the issue with partial
                      submission of the completed Investor Confirmation                                           0.25
               JLR    Answer the call of Investor Victim, C. Foxpool, regarding no receipt of the
                      Investor Confirmation; Explain the process and provide remedy.                              0.25
               JLR    Answer the call of Investor Victim, J. Gearhart, seeking confirmation of faxed
                      completed Investor Confirmation; Return call with confirmation of receipt of
                      same.                                                                                      0.25
               JLR    Receipt and review of email from Investor Victim, K. and M. Smith, regarding
                      issues with State and Receivership Investor Confirmation Form discrepancies;
                      Draft and send email to the same addressing the discrepancies; Prepare the
                      email attachments to previously completed and submitted State Investor
                      Confirmation.                                                                              0.25
               JLR    Answer the call of Investor Victim, E. Palmer, answer his questions as to
                      completing the Investor Confirmation.                                                      0.25
               JLR    Return the call of Investor Victim, M. Radney, regarding Investor Confirmation
                      completion.                                                                                0.25
               JLR    Return the call of Investor Victim, T. Sobrero, regarding questions as to the
                      Investor Confirmation.                                                                     0.25
               JLR    Return the call of Investor Victim, W. Black, answer his questions as to the
                      Investor Confirmation.                                                                     0.25
               JLR    Return the call of Investor Victim, L. Andersen, regarding non-precious metal
                      investment, Tower Equity land contract; Email to K. Crawford regarding her
                      questions.                                                                                 0.25
               JLR    Return the call of Investor Victim, L. Minehart, regarding completing the
                      Investor Confirmation over the telelphone.                                                 0.25
               JLR    Return the call of Investor Victim, S. Altman, regarding questions as to the
                      Investor Confirmation.                                                                     0.25
               JLR    Return the call of Investor Victim, G. Kirk, regarding completing the Investor
                      Confirmation.                                                                              0.25
               JLR    Answer call from Investor Victim, W. Black, regarding Fedex of completed
                      Investor Confirmation.                                                                     0.25
               JLR    Receipt and review of Fax correspondence from Investor Victim, L. Minehart,
                      with completed Investor Confirmation; Call regarding same.                                 0.25
               JLR    Telephone call to Investor Victim, L.Andersen, to provide K. Crawford

                                                                                                          APP 0019
   Case 3:20-cv-02910-X Document 282 Filed 07/16/21                           Page 20 of 67 PageID 4697
Kelly Crawford Receivership - Metals.com                                                                           05/26/2021
                                                                                                   Account No:     16125-102
                                                                                                    Invoice No:      1021662
Matter 102 - Representation of Receiver




                                                                                                          Hours
               response to her Tower Equity non-metal investment/claim.                                    0.25
        JLR    Return the call of Investor Victim, T. Mason, regarding Investor Confirmation.              0.25
        JLR    Return the call of Investor Victim, C. Delmonico, to assist with completing the
               Confirmation Form over the telephone.                                                        0.25
        JLR    Return the call of Investor Victim, M. A. Sears, regarding assistance with
               completing the Investor Confirmation over the telephone.                                     0.25
        JLR    Return the call of Investor Victim, C. Nelson, regarding Investor Confirmation.              0.25
        JLR    Return the call of Investor Victim, D. Neeley, to assist with completing the
               Investor Confirmation over the telephone.                                                    0.25
        JLR   Answer call from Investor Victim, Grady, regarding submission of his
               completed Investor Confirmation.                                                             0.25
        JLR   Answer telephone call from Investor Victim, C. Nelson, regarding issues with
              submitting her completed Investor Confirmation; Assist with the same.                         0.25
        JLR    Return the call of Investor Victim, T. Corum, to assist with completing the
               Investor Confirmation over the telephone.                                                    0.25
        JLR    Return the call of Investor Victim, T. Deardurff, regarding participation in the
               Receivership and explain Investor Confirmation.                                              0.25
        JLR   Draft and send email to Investor Victim, T. Mason, with the attached Investor
              Confirmation; call the same regarding confirmation.                                           0.25
        JLR   Return the call of Investor Victim, M. Zurich, regarding receipt of completed
              Investor Confirmation.                                                                        0.25
        DEB   Exchange of correspondence with Northwestern Mutual regarding the
              instruction not to close its file regarding Simon Batashvili.                                0.10
        MHS   Communications from Belichinko's attorney regarding claim form for allegedly
              owed money (.2); email to Receiver regarding responding to same (.2)                         0.40
       AE     Review, revise, finalize, and process claims and send out claims to investors.
       DEB    Exchange of correspondence with Northwestern Mutual regarding
              Northwestern Mutual's obligations related to the Receivership Orders.                        0.10
        BBN   Additional research of case law addressing unfreezing assets for defense
              costs (1.25); Preparation of outline regarding waiver argument for Response
              to Emergency Motion to Modify Preliminary Injunction (0.5)                                   1.75
       LMS    Conference with Jessica Rolls regarding investor calls and in-process
              transactions (.4); Continue work on in-process transactions with Bayside
              Metals (1.0); Return investor calls (.6)                                                     2.00
       PKJ    Continued review and analysis of caselaw pertaining to unfreezing
              receivership assets for purpose of paying Defendant's attorney's fees.                       1.50
       PCL    Review file materials and draft email to D. Spitzer and related communications
              with K. Crawford and J.Stafford regarding same(.8); communications with B.
              Neuwirt,P.Jesani,K. Crawford, W. Young and/or J. Stafford regarding
              response strategy and related outline review and research (.7);
              communications with K. Crawford regarding F. McCarthy/S. Batashvili jewelry
              representation(.?); communications with D.Baer,K Crawford and J. Hammel
              regarding Philadelphia properties(.3); communications with J.Day, K.Crawford
              regarding EquityZen account information requested and distributions records
              (.5);communications with K.Crawford regarding B.Given, F. McCarthy and S.
              Batashvili jewelry issues and related file review(.5); review stay notice filed in
              Chase Metals ADR matters and related communications with J.Stafford
              regarding same(.3) communications with K. Crawford regarding Douglas
              Emmett security deposit issues and related draft of email response to
              C.Brackins(.4)conference call with A. Lieberman, J. Day, K. Crawford
              regarding EquityZen access request (.4).                                                     4.60



                                                                                                    APP 0020
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                       Page 21 of 67 PageID 4698
      Kelly Crawford Receivership - Metals.com                                                                         05/26/2021
                                                                                                       Account No:     16125-102
                                                                                                        Invoice No:      1021662
      Matter 102 - Representation of Receiver




                                                                                                              Hours
04/08/2021      JLR Return the call of Investor Victim, L. Vanovershell, to assist with completing
                    the Investor Confirmation.                                                                  0.25
               JLR  Answer the call of Investor Victim, M. Radney, to assist with completing
                    Investor Confirmation.                                                                      0.25
               JLR Answer the call from Investor Victim, S. Randall, to answer question with
                    completing Investor Confirmation.                                                           0.25
               JLR Answer return call of Investor Victim, M. Radney, to finish assisting with
                    completing Investor Confirmation.                                                           0.25
               JLR Answer return call from Investor Victim, S. Randall, regarding submission of
                    completed Investor Confirmation.                                                            0.25
               JLR  Return the call of Investor Victim, C. Nelson, to assist with preparing her
                    Investor Confirmation and schedule time to complete the same.                               0.25
               JLR Assist Investor Victims, C. & C. Nelson, with the completion of their individual
                   Investor Confirmation over the telephone.                                                    0.25
               JLR Return call of Investor Victim, S. Altman, regarding Investor Confirmation.                  0.25
               JLR Return the call of Investor Victim, A. Huntsman, regarding Investor
                   Confirmation.                                                                               0.25
               JLR Return the call of Investor Victim, V. Lopez, regarding Receivership.                       0.25
               JLR Return the call of Investor Victim, J. Patczynski, to assist with completing
                   Investor Confirmation over the telephone.                                                   0.25
               JLR Return the follow-up call of Investor Victim, S. Altman, regarding receipt of
                   Investor Confirmation                                                                       0.25
               JLR Return the call of Investor Victim, J. Tudors, regarding Investor Confirmation.             0.25
               JLR Receipt and review of email correspondence from Investors, K. & M. Smith;
                   Draft and send responsive email to the same outline the upcoming dates and
                   information of the Receiver.                                                                0.25
               JLR Return the call of Investor Victim, D. Burch, regarding issues with completing
                   the Investor Confirmation.                                                                  0.25
               JLR Answer the call of Investor Victims, C. & C. Nelson, regarding Investor
                   Confirmations.                                                                              0.25
               MHS Provide proof of claim form to Belichenko's attorney.                                       0.20
               JLR Answer the call of Investor Victim, R. Reisner, to assist with completing the
                   Investor Confirmation.                                                                      0.25
               AE  Review, revise, finalize, and process claims and send out claims to investors.              8.00
               JLR Return the call of Investor Victim, D. Burch, to assist with completing Investor
                   Confirmation over the telephone.                                                            0.25
               JLR Return the call of Investor Victim, D. Grady, regarding Investor Confirmation.              0.25
               JLR Return the call of Investor Victim, G. Lechemiant, regarding no receipt of
                   Investor Confirmation and participation in the Receivership.                                0.25
               JLR Return the call of Investor Victim, N. Atkinson, regarding questions and
                   confusion as to the Investor Confirmation.                                                  0.25
               JLR Return the call of Investor Victim, P. Wrey, regarding questions about
                   completing the Investor Confirmation.                                                       0.25
               WSY Confer with metals.com team regarding Outline of Response to the Motion to
                   Carve Attorney's Fees from the Receivership Estate (1 ); Continue research
                      and organization of resrctive 1ortlii1 ii~lli~ii i i j r e s i i 1 - .
                      Si
                                                          (.4).                                                1.40
               BBN    Telephone conference between B. Neuwirt and P. Lewis regarding outline of
                      Response to Emergency Motion to Modify Preliminary Injunction (0.25);
                      Teams conference call to discuss Response to Emergency Motion to Modify
                      Preliminary Injunction (1.0); Analyze applicable cases regarding use of frozen

                                                                                                        APP 0021
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                       Page 22 of 67 PageID 4699
       Kelly Crawford Receivership - Metals.com                                                                          05/26/2021
                                                                                                         Account No:     16125-102
                                                                                                          Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                                Hours
                      assets for defense costs (1.75); Draft Outline of Response regarding use of
                      frozen assets for defense costs (1.25)                                                      4.25
                LMS   Continue work on in-process transactions with Bayside Metals (1.0); Confer
                      with Kelly Crawford regarding same (.2) ; Return calls to investors (.8)                    2.00
                PKJ   Prepare and draft outline for argument related to
                                                                                                                  1.25
                PKJ   Attend Teams conference call to discuss Response to Emergency Motion to
                      Modify Preliminary Injunction (1.0).                                                        1.00
                PKJ   Review and anal ze additional applicable cases regarding

                                                                                                                  1.50
                PCL   Review W.Young response outline on           and P.Jesani outline on
                                  and communications with B. Neuwirt,P.Jesani,K. Crawford, W.
                      Young, J. Stafford regarding response strategy and related research.                        1.10

04/09/2021      JLR    Receipt of faxed completed Investor Confirmation of D. Burch; Prepare and
                      provide to K. Crawford; Call to D. Burch to discuss Investor Confirmation.                  0.25
                JLR   Listen to voicemail from Investor Victim, P. Wrey, regarding issues with
                      submission of completed Investor Confirmation; Conference with K. Crawford
                      regarding same.                                                                             0.25
               JLR    Return the call of Investor Victim, R. Rasbury, regarding no receipt of Investor
                      Confirmation.                                                                               0.25
               JLR    Call Investor Victim, P. Wrey, regarding Investor Confirmation.                             0.25
               JLR    Return the call of Investor Victim, S. Palmer, regarding questions as to the
                      Investor Confirmation.                                                                      0.25
               JLR    Return the call of Investor Victim, R. Livesey, to assist with completing the
                      Investor Confirmation.                                                                      0.25
               JLR    Answer the call of Investor Victim, G. Lecheminant, regarding Investor
                      Confirmation to be completed.                                                              0.25
               JLR    Return the call of Investor Victim, J. Attwell, regarding the Investor
                      Confirmation.                                                                              0.25
               JLR    Return the call of Investor Victim, P. Aulds, regarding assistance with
                      completing the Investor Confirmation.                                                      0.25
               JLR    Return the call of Investor Victim, P. Jenkins, regarding the Investor
                      Confirmation.                                                                              0.25
               JLR    Return the call of Investor Victim, C. Harris, regarding Investor Confirmation.            0.25
               DEB    Preparation of correspondence to Northwestern Mutual regarding permission
                      to close its file concerning this matter.                                                  0.10
               JLR    Return the call of Investor Victim, B. Buiskool, to assist with completing both
                      her and her mother's Investor Confirmation.                                                0.50
               JLR    Return the call of Investor Victim, M. Radney, regarding Investor Confirmation.            0.25
               JLR    Return the call of Investor Victim, C. & K. Francis, to assist with completing
                      their respective Investor Confirmation.                                                    0.50
               JLR    Answer the call of Investor Victim, J. Oliver, regarding Investor Confirmation;
                      Prepare and send Investor Confirmation to the same; Assist Investor Victim
                      with completing the Investor Confirmation over the telephone.                              0.50
               JLR    Answer the call of Investor Victim, G. Kirk, to assist in completing Investor
                      Confirmation.                                                                              0.25
               AE     Review, revise, finalize, and process claims and send out claims to investors.             5.25
               BBN    Revise Outline of all responsive arguments in preparation for Response to
                      Emergency Motion to Modify Preliminary Injunction                                          1.25
               BBN    Review and analyze additional case law regarding waiver, and use of frozen

                                                                                                         APP 0022
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                        Page 23 of 67 PageID 4700
       Kelly Crawford Receivership - Metals.com                                                                           05/26/2021
                                                                                                          Account No:     16125-102
                                                                                                           Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                                 Hours
                      assets for defense costs in a civil case                                                    2.00
                LMS   Continue work on in-process transactions with Bayside Metals (1.0); Return
                      calls and voice mails to investors (.5)                                                      1.50
                PKJ   Review final outline drafted by Brenda N. in preparation for assisting with
                      Response to Defendants' Motion to Modify Preliminary Injunction.                             0.30
                PCL   Conference with K. Crawford regarding Emergency Motion to Modify Injunction
                      issues (2.0); review detailed response outline prepared by B. Neuwrit and
                      related communications with B. Neuwirt,P.Jesani,K. Crawford, W. Young, J.
                      Stafford and related research review regarding .        .4); Communications
                      with K.Crawford and K.Hammel and D.Baer regarding Wanamaker contract
                      (.2);communications with K.Crawford and D. Richie regarding EquityZen
                      investment and related file review(.4); communications with A.Spencer and K.
                      Crawford regarding Simon contempt motion and related file review(.40) review
                      claim deadline extension motion and order, docket same and related
                      communications with K.Crawford(.4).                                                          3.80

04/12/2021      JLR    Return the call of Investor Victim, P. LeBlanc, regarding Investor Confirmation.            0.25
                JLR    Return the call of Investor Victim, D. Riger, to assist with completing the
                       Investor Confirmation over the telephone.                                                   0.25
                JLR    Return the calls of Investor Victim, J. Raganswood, to assist with completing
                       the Investor Confirmation over the telephone.                                               0.25
                JLR    Return the call of Investor Victim, J. Oliver, regarding submission of the
                       completed Investor Confirmation.                                                           0.25
               JLR     Return the call of Investor Victim, S. Randall, regarding Investor Confirmation            0.25
               JLR    Answer the call of Investor Victim, G. Scott, to assist with completing the
                       Investor Confirmation over the telephone.                                                  0.25
               JLR     Call to Investor Victim, S. Randall, regarding Investor Confirmation.                      0.25
               JLR     Return the call of Investor Victim, G. Lecheminant, to assist with completing
                       Investor Confirmation over the telephone.                                                  0.25
               JLR    Return the call of Investor Victim, D. Stevens, to assist with completing
                      Investor Confirmation.                                                                      0.25
               JLR    Answer the call of Investor Victim, M. McKinney, regarding questions as to
                      BaySide liquidation and the Investor Confirmation.                                          0.25
               JLR    Return the call of Investor Victim, P. Aulds, regarding Investor Confirmation.              0.25
               JLR    Return the call of potential Investor Victim, C. Stanley, to address his
                      questions as to applicability of the Receivership.                                          0.25
               JLR    Return the call of Investor Victim, M. Eppley, to assist with completing Investor
                      Confirmation over the telephone.                                                            0.25
               JLR    Return the subsequent call of Investor Victim, P. Leblanc, to assist with
                      completing Investor Confirmation over the telephone.                                        0.25
               JLR    Return the call of Investor Victim, S. Aungst, regarding issues with taking
                      possession of her metals and completing the Investor Confirmation.                          0.25
               JLR    Call Investor Victim, P. Leblanc, regarding Investor Confirmation.                          0.25
               JLR    Answer the call of Investor Victim, M. Eppley, regarding Investor Confirmation.             0.25
               JLR    Call Investor Victim, J. Oliver, regarding Investor Confirmation.                           0.25
               JLR    Return the call of Investor Victim, M. McKinney regarding Investor
                      Confirmation.                                                                               0.25
               JLR    Return the call of Investor Victim, R. Bines, to assist with completing the
                      Investor Confirmation over the telephone.                                                   0.25
               JLR    Return the call of Investor Victim, L. Witt, regarding assistance with completing
                      the Investor Confirmation over the telephone.                                               0.25
               JLR    Return the call of P. Pendleton on behalf of his mother-in-law Investor Victim,

                                                                                                          APP 0023
    Case 3:20-cv-02910-X Document 282 Filed 07/16/21                         Page 24 of 67 PageID 4701
Kelly Crawford Receivership - Metals.com                                                                          05/26/2021
                                                                                                  Account No:     16125-102
                                                                                                   Invoice No:      1021662
Matter 102 - Representation of Receiver




                                                                                                         Hours
               S. Root-Function, regarding Investor Confirmation.                                         0.25
        JLR    Draft and send email to Investor Victim, C. Dobrin, with attached Investor
               Confirmation to be completed.                                                               0.25
        JLR    Draft and send email to Investor Victim, T. Case, with attached Investor
               Confirmation to be completed.                                                               0.25
        JLR    Draft and send email to Investor Victim, J. lrhke, with attached Investor
               Confirmation to be completed.                                                               0.25
        JLR    Draft and send email to Investor Victim, R. Rasbury, with attached Investor
               Confirmation to be completed.                                                               0.25
        JLR    Draft and send email to Investor Victim, R. Sproul, with attached Investor
               Confirmation to be completed.                                                               0.25
        JLR    Call Investor Victim, P. Aulds, to notify her that a replacement of the Investor
               Confirmation was emailed to her for completion.                                             0.25
        JLR    Receipt and review Investor Confirmation for Investors M. & M. McKinney.                    0.25
        JLR    Return the call of Investor Victim, C. Francis, regarding completion and
               submission of the Investor Confirmation.                                                    0.25
        JLR    Return the call of Investor Victim, G. Lecheminant, to notify him of revised
               Investor Confirmation emailed to him and discuss completion of the same.                    0.25
        JLR    Return the call of Investor Victim, R. Rasbury, to assist with completing the
               Investor Confirmation over the telephone.                                                  0.25
        JLR    Return the call of Investor Victim, R. Reisner, regarding Investor Confirmation.           0.25
        JLR    Receipt and review of email correspondence from Investor Victim, C. Dobrin,
               regarding Investor Confirmation; Draft and send responsive email to the same.              0.25
        JLR    Receipt and review of multiple email correspondences from Investor Victim, R.
               Rasbury, regarding Investor Confirmation; Answer call from same.                           0.25
        JLR    Draft and send email to Investor Victim, C. Foxpool, with attached Investor
               Confirmation to be completed.                                                              0.25
        JLR    Draft and send email to Investor Victim, C. Richardson, with attached Investor
               Confirmation to be completed.                                                              0.25
        MKR    Listen to voicemails from investors regarding paperwork (0.2); confer with J.
               Rolls regarding investor confirmation forms (0.3); return investor calls
               regarding investment confirmations (0.5); emails with Illinois government
               attorney regarding confirmation form (0.2).                                                1.20
        BBN    Draft Response to Emergency Motion to Modify Preliminary Injunction,
              I                        II                                                                 4.75
        LMS    Return investor calls and voice mails.                                                     1.00

       WSY Review                                or
                                                 • crafting
                                                    • • •of  •Declaration
                                                               •••••       in Support
                                                                               • • • of
                                                                                      ••
           Receiver's Response to efendants' Motion to Modify Preliminary Injunction
           and begin drafting said Declaration in support thereof.                                        2.20
       PKJ Review outline for Receiver's Response brief to Emergency Motion to Modify
           Preliminary lnjuction and
           begin review and analysis of additional cases to be potentially cited in
           response brief.                                                                                2.75
       AE  Review, revise, finalize, and process claims and send out claims to investors.                 6.50
       PCL Receipt and/or review of appraisals for Philadelphia properties and related
           communications with. M.Dundala, K. Crawford, D. Baer and J. Hammel(1.0);
           communications with K.Crawford, B. Neuwirt, J.Stafford, W.Young and/or P.
           Jesani regarding Receiver Response to Motion to Modify Injunction
           status.strategy and issues and/or research(1.5); Telephone call with G. Besen
           regarding untainted assets inquiry and follow up and related communications
           with K. Crawford (1.3);review K.Crawford letter to C. Davis regarding L. Asher

                                                                                                   APP 0024
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                    Page 25 of 67 PageID 4702
      Kelly Crawford Receivership - Metals.com                                                                       05/26/2021
                                                                                                     Account No:     16125-102
                                                                                                      Invoice No:      1021662
      Matter 102 - Representation of Receiver




                                                                                                            Hours
                      deposition promises(.4).                                                               4.20
                PCL   Communications with K.Crawford and former employee regarding Pl
                      (.6);communications with K.Crawford and S.Richman regarding Conway
                      security deposit return settlement(.2);communications with K.Crawford
                      regarding fainche failure to disclose valuable jewelry (.6).                            1.40

04/13/2021      JLR Return the call of Investor Victim, G. Scott, regarding Investor Confirmation.            0.25
                JLR Return the call of Investor Victim, G. Lecheminant, to assist with completing
                    the Investor Confirmation over the telephone.                                             0.25
               JLR Answer the call of Investor Victim, S. Aungst, requesting confirmation of her
                    mailed completed Investor Confirmation; Confirmed; Answer her questions as
                    to locating metals as detailed by New Direction.                                          0.25
               JLR  Return the call of Investor Victim, G. LeCheminant, to confirm as requested
                   the receipt of his faxed completed Investor Confirmation and answer his
                    questions as to the Receivership moving forward.                                          0.25
               JLR  Receipt and review of email from Investor Victim, J. Lindenmuth, regarding
                    Investor Confirmation; Draft and send responsive email to the same.                       0.25
               JLR Answer return call of Investor Victim S. Aungst, subsequent to her
                   conversation with New Direction regarding the recovery of her 200 silver
                   canadian polar bear coins; Confer with K. Crawford; Inform investor of same.               0.25
               JLR  Receipt and review of email correspondence from Investor Victim, C. Foxpool,
                    regarding completed Investor Confirmation; Draft and send responsive email
                   to the same; Prepare the attached pictures for K. Crawford.                                0.25
               JLR Answer the call of Investor Victim, A. Hunstman, regarding the Investor
                   Confirmation and inclusion in the Receivership.                                            0.25
               JLR Call Investor Victims, M. & L. Lalik, in response to their email correspondence
                   to assist with completing the Investor Confirmation over the telephone.                   0.25
               JLR Return the call of Investor Victim, D. Donaldson, regarding the Investor
                   Confirmation; Draft and send the same a copy of his respective Investor
                   Confirmation; Call the same to confirm receipt of the email and to assist with
                   completing the Investor Confirmation.                                                     0.50
               JLR Return the call of Investor Victim, C. Dobrin, regarding Investor Confirmation.           0.25
               JLR Return the call of Investor Victim, G. Kirk, regarding Investor Confirmation.             0.25
               JLR Return the call of Investor Victim, K. Tomashek, to assist with completing
                   Investor Confirmation over the telephone.                                                 0.25
               JLR Answer the call of Investor Victim, M. McKinney, regarding questions as to
                   pending metals order and confirmation of receipt of completed faxed Investor
                   Confirmation.                                                                             0.25
               JLR Return the call of Investor Victim, P. Rosenbaum, regarding his Investor
                   Confirmation and assist with completing the same.                                         0.25
               MKR Return phone calls to investors regarding confirmation form issues (0.8);
                   phone call with New Direction general counsel regarding investors with
                   pending metal sales (0.4).                                                                1.20
               AE  Review, revise, finalize, and process claims and send out claims to investors.            4.50
               JLR Call Investor Victim, S. Steiner, at the request of K. Crawford regarding
                   pending metals purchase; Send email to K. Crawford detailing the same and
                   need for remedy.                                                                          0.25
               WSY Review of Court Docket to collect necessary background information for
                   Statement of Facts (1.2); Begin drafting Statement of Facts and continue
                   drafting Declaration of Receiver of Kelly Crawford, all in support of Response
                   to Motion to Modify Temporary Injunction (1.9).                                           3.10
               JLR Answer the call of Investor Victim, L. Minehart, regarding questions as to R.

                                                                                                     APP 0025
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                        Page 26 of 67 PageID 4703
       Kelly Crawford Receivership - Metals.com                                                                          05/26/2021
                                                                                                         Account No:     16125-102
                                                                                                          Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                                Hours
                      Kohl and his metals at Equity; Confer with K. Crawford regarding answer;
                      Provide such answer to Investor Victim.                                                     0.50
                BBN   Revise Response to Emergency Motion to Modify Preliminary Injunction                        2.75
                PCL   Communications with D. Baer, K. Crawford regarding Philadelphia property
                      Cheltenham, offers(.3); communications with K. Crawford Third Report and
                      related review/revision(.50); communications with B. Neuwirt, W.Young, J.
                      Stafford, et al. regarding Receiver Response to Motion to Modify Injunction
                      issues and related file review(.6).                                                         1.40
                LMS   Attention to in-process transaction matters with Bayside Metals (.75); Return
                      calls to investors (. 75).                                                                  1.50
                PCL   Communications with K.Crawford regarding                             and
                      related strategy(.4); communications with K.Crawford and C.Park regarding
                      Space X (.4); communications with B.Given and K.Crawford regarding jewelry
                      turnover and failure disclosure and related file review(2.1 ));communications
                      with J. Schwartz and K.Crawford regarding claim forms and notice of right to
                      file claim and related file review(.4);communications with S.Richman and
                      K.Crawford regarding return of Conway security deposit issues(.2);
                      communications with K.Crawford ,J McKlay regarding 404
                      Wanamaker(.2);communications with K.Crawford, regarding
                                                                    (.4).                                        4.10

04/14/2021     JLR    Return the call of Investor Victim, S. Hollatz, regarding Investor Confirmation.            0.25
               JLR    Return the call of Investor Victim, B. Grubb, regarding issues with Investor
                      Confirmation exhibit metals and the non-metals.                                             0.25
               JLR    Answer the call of Investor Victim, P. Aulds, regarding her Investor
                      Confirmation.                                                                               0.25
               JLR    Return the call of Investor Victim, R. Olson, regarding Investor Confirmation.              0.25
               JLR    Return the call of Investor Victim, P. Pendleton, regarding submission of
                      Investor Confirmation.                                                                      0.25
               JLR    Answer the call of Investor Victim, M. Peden, to assist with completing the
                      Investor Confirmation over the telephone and answering his outstanding
                      questions as to claim amount.                                                              0.25
               JLR    Call Investor Victim, R. Olson, regarding his Investor Confirmation.                       0.25
               JLR    Return call of Investor Victim, N. Neeley, regarding Investor Confirmation.                0.25
               JLR    Return the call of Investor Victim, M. McKinney, regarding pending metals
                      purchase.                                                                                  0.25
               JLR    Return the calls of Investor Victim, J. Raganswood, regarding Investor
                      Confirmation.                                                                              0.25
               JLR    Return the call of Investor Victim, I. Brannan, regarding Investor Confirmation.           0.25
               JLR    Call advisor at Edward Jones regarding Investor Confirmation for her client
                      Investor Victim, L. John.                                                                  0.25
               JLR    Return the call of Investor Victim, T. Green, regarding the Investor
                      Confirmation.                                                                              0.25
               JLR    Return the call of Investor Victim, C. Francis, regarding Investor Confirmation.           0.25
               JLR    Return the call of Investor Victim, T. Green, regarding Investor Confirmation.             0.25
               JLR    Receipt and review of email correspondence from Investor Victim, T. Mason;
                      Draft and send responsive email to the same.                                               0.25
               JLR    Receipt and review of email correspondences from Investor Victim, P.
                      Rosenbaum, with attached completed Investor Confirmation and supporting
                      documents; Draft and send responsive email to the same confirming receipt.                 0.25
               JLR    Research allegations raised by Investor Victim, M. Smith, as to Entrust Group
                      communications; Review and analyze class action civil complaint in Northern

                                                                                                          APP 0026
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                        Page 27 of 67 PageID 4704
       Kelly Crawford Receivership - Metals.com                                                                            05/26/2021
                                                                                                           Account No:     16125-102
                                                                                                            Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                                  Hours
                   District of California with similar Entrust allegations and/or activity.                        2.50
               MKR Phone call with investors regarding completing confirmation form.                               0.20
               WSY Complete revisions to Declaration of Kelly Crawford in support of Response to
                   Motion to Modify Temporary Injunction (.4); and Complete revisions to
                   Statement of Facts in support of the same (.6).                                                  1.00
               JLR Return the call of Investor Victim, R. Olson, regarding assistance with
                   completing Investor Confirmation.                                                                0.25
               JLR Return the call of Investor Victim, Holmi, regarding Investor Confirmation.                      0.25
               AE  Review, revise, finalize, and process claims and send out claims to investors.                   4.00
               PKJ Review draft of Receiver's Response to Emergency Motion to Modify
                   Preliminary Injunction prepared by Brenda Neuwirt in order to assist with
                   revisions to same and draft portion of Receiver's Response brief pertaining to
                   limited appearance.                                                                              2.25
               PCL Communications with K. Crawford, D.Baer,J.Hammel regarding offers on
                   Rosemar, Chew, Cheltenham,Haddingson(.6); Conference call with C. Park
                   and K. Crawford regarding Forge information needed for Space X liquidation
                   and related file review(.5); Receipt and review of ADR and/or Superior Court
                   pleadings and dockets regarding D. Spitzer email response and related file
                   review(1.2).                                                                                     2.30
               PCL Communications with K. Crawford, regarding
                                                                                .6); receipt and/or
                                                documents.                                                          1.20

04/15/2021     JLR   Return the call of D. McKinney on behalf of Investor Victim, G. Ross, regarding
                     pending metals purchase and recovery of the same.                                              0.25
               JLR   Call Investor Victim, T. Morin, regarding pending sale of metals information for
                     possible recovery of same.                                                                    0.25
               JLR   Answer the call of Investor Victim, T. Morin, to ascertain pending metals sale
                     information and to provide Investor Confirmation information.                                 0.25
               JLR   Return the call of Investor Victim, P. Aulds, regarding Investor Confirmation.                0.25
               JLR   Return the call of Investor Victim, D. Neeley, regarding Investor Confirmation.               0.25
               JLR   Return the call of Investor Victim, C. Connell, to assist with completing
                     Investor Confirmation over the telephone.                                                     0.25
               JLR   Return the call of Investor Victim, N. Jones, to assist with completing the
                     Investor Confirmation over the telephone.                                                     0.25
               JLR   Return the call of Investor Victim, J. Raganswood, regarding Investor
                     Confirmation.                                                                                 0.25
               JLR   Return the call of R. Morgan on behalf of deceased Investor Victim, J. Beach,
                     to assist with completing the Investor Confirmation over the telephone.                       0.25
               JLR   Call Investor Victim, T. Morin, regarding Investor Confirmation.                              0.25
               JLR   Return the call of Investor Victim, W. Ward, to assist with completing the
                     Investor Confirmation over the telephone.                                                     0.25
               JLR   Return the call of Investor Victim, S. Steiner, to ascertain correct information to
                     provide Investor Confirmation; Prepare the same to be mailed to S. Steiner for
                     completion.                                                                                   0.25
               JLR   Receipt and review of email correspondence from R. Morgan on behalf of
                     Investor Victim, J. Beach, with attached completed Investor Confirmation;
                     Draft and send responsive email to the same with confirmation.                                0.25
               JLR   Return the call of Investor Victim, S. Hollatz, regarding Investor Confirmation.              0.25
               JLR   Answer subsequent call from Investor Victim, J. Raganswood, regarding
                     Investor Confirmation.                                                                        0.25
               JLR   Answer the call of Investor Victim, C. Richardson, regarding Investor

                                                                                                            APP 0027
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                     Page 28 of 67 PageID 4705
       Kelly Crawford Receivership - Metals.com                                                                        05/26/2021
                                                                                                       Account No:     16125-102
                                                                                                        Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                              Hours
                    Confirmation.                                                                              0.25
               JLR  Return the call of Investor Victim, B. Eacker, to assist with completing the
                    Investor Confirmation over the telephone.                                                   0.25
               JLR  Return the call of Investor Victim, R. Donaldson, regarding issues with Investor
                    Confirmation.                                                                               0.25
               JLR  Return the call of Investor Victim, R. Donaldson, regarding partial receipt of
                   emailed completed Investor Confirmation; Prepare the same; Inform Investor
                   Victim that signature page is missing and work to provide the same.                          0.25
               JLR Return the call of D. McKinney on behalf of Investor Victim, G. Ross, regarding
                   pending metals fax and return of Investor Confirmation.                                      0.25
               WSY Review Receiver's Third Report and Complaint for citations in support of
                   Response to Motion to Modify Temporary Injunction and provide the same for
                   Briefing.                                                                                    0.30
               AE  Review, revise, finalize, and process claims and send out claims to investors.               4.00
               BBN Research regarding additional case law and case law cited in Emergency
                   Motion to Modify Preliminary Injunction; Analyze applicable cases for
                   argument.                                                                                    2.00
               PKJ Assist with further review and analysis of caselaw cited within the Emergency
                   Motion and also additional caselaw to be included in Receiver's Response
                   Brief in support of arguments to be raised.                                                 2.00
               PCL Communications with D. Baer,K. Crawford,J. Hammel, regarding Philadelphia
                   property search results, Shawn, Rosemar offers(.30); review D. Spitzer
                   declaration filed in ADR case and related communications with J.Stafford and
                   K. Crawford regarding same(.3); communications with K.Crawford, B. Neuwirt,
                   J.Stafford, W.Young and/or P. Jesani regarding Receiver Response to Motion
                   to Modify Injunction status,strategy and issues and related file and draft
                   review and/or research(1.5); communications with T. Tran and K. Crawford
                   regarding claim form, etc. issues(.2); com!ll.unications with K. Crawford
                   regarding
                                                                           .7 ·Communications with
                   K.Craw ord regarding                                               (2);
                   communications with K.Crawford regardin                         (.2);
                   communications with K.Crawford regarding                                                    3.10

04/16/2021     JLR   Return the call of D. McKinney on behalf of Investor Victim, G. Ross, regarding
                     helping his grandmother complete the Investor Confirmation.                               0.25
               JLR   Return the call of Investor Victim, M. Straus, to assist with completing the
                     Investor Confirmation over the telephone.                                                 0.25
               JLR   Return the call of Investor Victim, S. Hammerland, to assist with completing
                     the Investor Confirmation over the telephone.                                             0.25
               JLR   Return the call of Investor Victim, S. Stephens, regarding of Investor
                     Confirmation.                                                                             0.25
               JLR   Return the call of Investor Victim, R. Reed, to assist with completing Investor
                     Confirmation and answering additional receivership related questions                      0.25
               JLR   Return the call of Investor Victim, P. Hambrick, to assist with completing the
                     Investor Confirmation over the telephone.                                                 0.25
               JLR   Answer the call of Investor Victim, S. Hammerlund, regarding Investor
                     Confirmation.                                                                             0.25
               JLR   Return the call of Investor Victim, S. Hammerlund, regarding Investor
                     Confirmation.                                                                             0.25
               JLR   Return the call of K. Tomashek on behalf of Investor Victim to assist with
                     completing Investor Confirmation over the telephone.                                      0.25

                                                                                                        APP 0028
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                       Page 29 of 67 PageID 4706
       Kelly Crawford Receivership - Metals.com                                                                          05/26/2021
                                                                                                         Account No:     16125-102
                                                                                                          Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                                Hours
                WSYReview and revise initial draft of Response to Motion to Modify Temporary
                   Injunction with special attention to Statement of Fact issues and distinguishing
                   cases cited by Defendants to modify the injunction and release frozen assets.                  2.50
               BBN Draft additional argument from findings in additional case law; Revise
                   Receiver's Response to Emergency Motion to Modify Preliminary Injunction.                      1.00
               AE  Review, revise, finalize, and process claims and send out claims to new
                   investors.                                                                                     5.50
               PKJ Review revised initial draft of Receiver's Response to Emergency Motion to
                   Modify Preliminary Injunction and assist with revisions to same including
                   analysis of cases cited within the Emergency Motion as well as caselaw to be
                   cited in Response.                                                                             1.00
               LMW Monitor voice mails regarding investor inquiries; return phone calls and
                   respond to investor questions regarding claims process and claims forms;
                   assist with compilation of information for investors; correspondences to work
                   group regarding updates of investor information.                                               5.30
               PCL Review draft of Receiver's Response to Motion to Modify Injunction, revise
                   same, related file review and related communications with B. Neuwirt, K.
                   Crawford, J. Stafford, P.Jesani, W.Young, regarding same(1.3); review
                   EqityZen file materials and related communications with K.Crawford and J.
                   Day regarding unpaid distributions status(.?); communications with J.
                   Hammell, D. Baer and K. Crawford regarding Haddington Street property
                   offer(.2).                                                                                     3.20
               PCL Communications with K.Crawford regarding
                                                                                                                 0.40

04/17/2021     BBN    Revise Receiver's Response to Emergency Motion to Modify Preliminary
                      Injunction                                                                                 0.50
               PCL    Communications with J.McCLay, K.Crawford, D.baer regarding Cheltenham
                      property.                          ,;                                                      0.20

04/18/2021     LMW Monitor voice mails regarding investor inquiries; return phone calls and
                   respond to investor questions regarding claims process and claims forms;
                   assist with compilation of information for investors; correspondences to work
                   group regarding updates of investor information.                                              3.40
               PCL Review draft of Receiver's Response to Motion to Modify Injunction, revise
                   same, related file review and related communications with B.Neuwirt, K.
                   Crawford, J. Stafford, P.Jesani and/or W.Young, regarding same/next steps.                    3.50

04/19/2021     AE     Review, revise, finalize, and process claims and send out claims to new
                      investors.                                                                                 3.50
               JLR    Return the call of Investor Victim, M. Strauss, regarding Investor Confirmation.           0.25
               JLR    Answer call from Investor Victim, T. Case, regarding Investor Confirmation.                0.25
               JLR    Answer call from Investor Victim, M. Zunich, regarding Investor Confirmation.              0.25
               JLR    Answer the call of Investor Victim, W. Black, regarding Investor Confirmation.             0.25
               JLR    Answer call from D. McKinney on behalf of Investor Victim, G. Ross, to assist
                      with completing the Investor Confirmation.                                                 0.25
               JLR    Return the call of Investor Victim, J. Jeffrey, regarding Investor Confirmation.           0.25
               JLR    Answer return call from Investor Victim, M. Strauss, regarding Investor
                      Confirmation.                                                                              0.25
               JLR    Answer the call of Investor Victim, T. Case, regarding Investor Confirmation.              0.25
               JLR    Answer the call of Investor Victim, M. Zunich, regarding Investor Confirmation.            0.25
               JLR    Answer the call of D. McKinney on behalf of Investor Victim, G. Ross,

                                                                                                          APP 0029
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                        Page 30 of 67 PageID 4707
       Kelly Crawford Receivership - Metals.com                                                                            05/26/2021
                                                                                                           Account No:     16125-102
                                                                                                            Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                                  Hours
                    regarding Investor Confirmation.                                                               0.25
               JLR Answer the call of Investor Victim, T. Deardurff, regarding no receipt of
                    Investor Confirmation.                                                                          0.25
               JLR Answer the call of Investor Victim, E. Palmer, regarding Investor Confirmation.                  0.25
               JLR Answer the call of Investor Victim, W. Eacker, regarding Investor
                    Confirmation.                                                                                   0.25
               JLR  Return the call of Investor Victim, J. Vishon, to assist with completing the
                    Investor Confirmation over the telephone.                                                       0.25
               JLR  Return the call of Investor Victim, R. Bines, regarding Investor Confirmation.                  0.25
               JLR Return the call of Investor Victim, W. Eacker, regarding Investor Confirmation.                  0.25
               WSY Combine Revisions to the Emergency Motion to Modify Temporary Injunction
                   (.6); Review revisions to the Declaration of Receiver in support of the same
                   (.4); Draft Appendix in support of the same (.7).                                                1.70
               JSS Telephone conference with Ken Goldman, attorney for claimants against
                   TMTE regarding litigation claims against receivership.                                           0.50
               JSS Interoffice conference with Receiver and P. Lewis regarding revisions to brief
                   in response to Defendants Motion to Modify Order.                                                0.25
               JSS Confer with Receiver regardin                                                                    0.25
               JLR Return the call of Investor Victim, B. Johnson, regarding Investor
                   Confirmation.                                                                                   0.25
               JLR Answer the call of Investor Victim, C. Harris, to assist with completing both his
                   and his wife's respective Investor Confirmation.                                                0.50
               BBN Receipt and review Receiver's comments; Revise Receiver's Response to
                   Emergency Motion to Modify Preliminary Injunction; Research regarding
                   additional arguments to further include                                                         3.75
               PKJ Review Receiver's revised draft of Response to Emergency Motion to Modify
                   Preliminary Injunction and assist with further review and revisions to same;
                   communicate with litigation team regarding further revisions to Receiver's
                   Response; further analysis of caselaw cited within the Emergency Motion and
                   also additional cases to be included in Receiver's Response Brief.                              2.50
               LMW Monitor voice mails regarding investor inquiries; return phone calls and
                   respond to investor questions regarding claims process and claims forms;
                   assist with compilation of information for investors; correspondences to work
                   group regarding updates of investor information.                                                4.25
               PCL Continue reviewing and/or revising Receiver's response to Motion to Modify
                   Injunction and/or related Declaration, and related communications with K.
                   Crawford, P. Jesani, W. Young, J. Stafford and/or B. Neuwirt regarding same
                   and related file/pleadings review (.3.5);communications with. K. Crawford
                   regarding                     I                i i                 &,
                   -.5)-4.0                                                                                        4.00

04/20/2021     JLR   Receipt and review of email correspondence from Investor Victim, S. Anne
                     Piotti, regarding Investor Confirmation; Draft and send responsive.                           0.25
               JSS   Review Defendants' Google E-mail accounts regarding Feldman Equities and
                     Grand Point Apartment investment communications to discover assets.                           0.50
               JLR   Receipt and review of Investor Confirmation mailed by Investor Victim, J.
                     Raganswood; Combine the Investor Confirmation with previously provided
                     documentation as to metals purchase.                                                          0.25
               JLR   Answer the call of Investor Victim, R. Beatty, to assist with completing Investor
                     Confirmation.                                                                                 0.25
               JLR   Return the call of Investor Victim, J. Vishon, to assist with completing his wife's
                     Investor Confirmation.                                                                        0.25

                                                                                                            APP 0030
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                      Page 31 of 67 PageID 4708
       Kelly Crawford Receivership - Metals.com                                                                        05/26/2021
                                                                                                       Account No:     16125-102
                                                                                                        Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                              Hours
                JLRAnswer the call of Investor Victim, J. Raganswood, regarding Investor
                    Confirmation.                                                                               0.25
               JSS  Continue review of case law citations within brief.                                         0.75
               JSS Telephone conference with P. Lewis regarding review of case law citations.                   0.25
               JLR Answer the call of Investor Victim, J. Vishon, regarding Investor Confirmation.              0.25
               MKR Phone call with investors regarding case status and confirmation forums.                     0.50
               WSY Update Draft Response to Emergency Motion to Modify Temporary Injunction
                   with citations to Appendix and address comments from other members of
                   team to respective areas of Motions (2); Revise section of Response
                   addressing differentiation of case law cited by Movants to meet page limits (1 );
                   Update Appendix to reflect changes made to corresponding Declaration (.7);
                   Create Table of Authorities and Table of Contents before prepping final
                   version of Response for filing (1 ).                                                         4.70
               BBN Review Appendix and Exhibits for filing; Make final revisions to Receiver's
                   Response to Emergency Motion to Modify Preliminary Injunction; Make
                   additional revisions per Receiver's comments; Review applicable case law;
                   Preparation of Response for filing                                                          2.50
               PKJ Assist with making final revisions to Receiver's Response to Emergency
                   Motion to Modify Preliminary Injunction; Review applicable caselaw and check
                   and revise case citations in Receiver's Response brief; Assist with finalizing
                   Receiver's Response brief with edits from Receiver and other litigation team
                   members.                                                                                    0.75
               AE  Review, revise, finalize, and process claims and send out claims to new
                   investors.                                                                                  7.75
               CAM Receive and return phone calls from a number of investors in connection with
                   completing investor confirmation forms (4.5).                                               4.50
               LMW Monitor voice mails regarding investor inquiries; return phone calls and
                   respond to investor questions regarding claims process and claims forms;
                   assist with compilation of information for investors; correspondences to work
                   group regarding updates of investor information.                                            6.00
               PCL Communications with K. Crawford and B.Given regarding false declarations
                   and/or jewelry testimony and/or related review of file materials(.5) Review
                   and/or revise Receiver's response to Motion to Modify Injunction and related
                   Declaration, and related communications with K. Crawford, P.Jesani,
                   W.Young, J. Stafford, B. Neuwirt regarding same and related file/pleadings
                   review and coordinate with B,.Neuwirt and K. Crawford on finalizing and filing
                   same(.4.8); Communications with K. Crawford and K. Walker regarding
                   10/20/20 demand to Bank of America and related file review(.40).                            6.10

04/21/2021     JLR    Answer the call of Investor Victim, C. Schwabb, to assist with completing
                      Investor Confirmation over the the telephone.                                            0.25
               JLR    Receipt and review of email correspondence from Iowa Investor regarding
                      Investor Victim, M. Juhl; Ascertain telephone number of the same to notify Ms.
                      Juhl of Investor Confirmation.                                                           0.25
               JLR    Receipt and review of email from Investor Victim, C. Dobrin, regarding
                      Investor Confirmation; Call the Investor.                                                0.25
               JLR    Receipt and review of email correspondence from Investor Victim, J.
                      Rodriguez, regarding inquiries into status of the Receivership and its claims
                      process; Leave voicemail in response to the same.                                        0.25
               JLR    Draft and send responsive email correspondence to Investor Victim, C.
                      Dobrin, regarding Investor Confirmation.                                                 0.25
               JLR    Draft and send responsive email to Investor Victims, C. & M. Harris, regarding

                                                                                                       APP 0031
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                      Page 32 of 67 PageID 4709
       Kelly Crawford Receivership - Metals.com                                                                         05/26/2021
                                                                                                        Account No:     16125-102
                                                                                                         Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                               Hours
                    of their respective Investor Confirmations.                                                 0.25
               JLR Answer the call of Investor Victims, R. & R. Todd, to assist with completing
                   their respective Investor Confirmations.                                                      0.50
               JLR Answer the return call of J. Rodriguez on behaf of his late Father Investor
                   Victim, J. Rodriguez, to assist with completing the Investor Confirmation and
                   answering his questions.                                                                      0.25
               JLR Answer the call of Investor Victim, H. Vanderover, regarding his Investor
                   Confirmation.                                                                                 0.25
               JLR Return the call of Investor Victim, R. Todd, regarding his Investor
                   Confirmations.                                                                                0.25
               JLR Return the call of Investor Victim, B. Johnson, to assist with completing her
                   and her late husband's Investor Confirmations.                                                0.25
               JLR Answer the call of Investor Victim, J. Jeffrey, to assist with completing the
                   Investor Confirmation over the telephone.                                                     0.25
               JLR Return the call of Investor Victim, N. Reed, regarding issues with submitting
                   his completed Investor Confirmation due to Hospitalization.                                   0.25
               JLR Answer the call of Investor Victim, P. Southway, to assist with revisions to
                   Investor Confirmation.                                                                        0.25
               JLR Answer call from Investor Victim, T. Deardurff, to assist with completing
                   Investor Confirmation over the telephone.                                                     0.25
               JLR Answer return call from Investor Victim, R. Todd, regarding issues with her
                   and her husband's Investor Confirmation.                                                      0.25
               DBD Office conference with Receiver Crawford regarding claims against II           a              0.20
               AE  Review, revise, finalize, and process claims and send out claims to new
                   investors.                                                                                   4.00
               CAM Receive and return investor calls regarding status of the case as well as
                   investor confirmation forms (6).                                                             3.00
               LMW Monitor voice mails regarding investor inquiries; return phone calls and
                   respond to investor questions regarding claims process and claims forms;
                   assist with compilation of information for investors; correspondences to work
                   group regarding updates of investor information.                                             3.80
               LMS Return calls to investors.                                                                   0.50

04/22/2021     JLR   Answer call from Investor Victim, R. & R. Todd, regarding Investor
                     Confirmations.                                                                             0.25
               JLR   Answer call from Investor Victim, C. Harris, regarding Investor Confirmation.              0.25
               JLR   Receipt and review of email correspondence from Investor Victim, P.
                     Southway, regarding Investor Confirmation.                                                 0.25
               JLR   Receipt and review of email correspondence from J. Rodriguez on behalf of
                     Investor Victim, J. Rodriguez, regarding Investor Confirmation.                            0.25
               JLR   Answer the return call of Investor Victim, L. Jamison, to assist with completing
                     the Investor Confirmation.                                                                 0.25
               JLR   Answer call from Investor Victim, C. Harris, regarding assistance with
                     changing answers of Investor Confirmation.                                                 0.25
               JLR   Answer the call of Investor Victim, S. Hollatz, regarding Investor Confirmation.           0.25
               JLR   Answer call of Investor Victim, K. Pinkston, regarding confusion as to errors on
                     the Investor Confirmation.                                                                 0.25
               JLR   Return the call of Investor Victim, S. Hollatz, regarding Investor Confirmation.           0.25
               JLR   Answer the call of Investor Victim, P. Southway, regarding as to values
                     reflected on Exhibit A; Explain the meaning and address her concerns as to
                     the same.                                                                                  0.25
               MKR   Phone calls with investors regarding confirmation form.                                    0.40

                                                                                                         APP 0032
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                         Page 33 of 67 PageID 4710
       Kelly Crawford Receivership - Metals.com                                                                            05/26/2021
                                                                                                           Account No:     16125-102
                                                                                                            Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                                  Hours
                MHS   Conferences with Receiver regarding                              (.2); email to
                      counsel for Belichenko regarding scheduling interview for next week (.2).                     0.40
                AE    Review, revise, finalize, and process claims and send out claims to new
                      Investors.                                                                                    2.00
                CAM   Continue through the numerous investor calls and return same in efforts to get
                      investor confirmation forms (7).                                                              3.50
                LMS   Attention to in-process transactions, with Bayside Metals; including calls and
                      emails to investors regarding same (.75); Review transaction notes and emails
                      to create summary spreadsheet of completed transactions with Bayside (2.5)                    3.25
                PCL   Communications with R. Drake,J. Day, K. Crawford regarding EquityZen
                      distribution status and follow up (.4); communications with J. Stafford
                      regarding                             (.2); review settlement agreement draft and
                      related mutual release for S. Richman on the Conway security deposit dispute
                      and transmit same to s. Richman(.6).                                                          1.20

04/23/2021      JLR    Return the call of Investor Victim, B. Johnson, regarding question as to
                       submission of her Investor Confirmation.                                                     0.25
                JLR    Receipt and listen to of voicemail from Investor Victim, B. Johnson; Return the
                       call regarding Investor Confirmation.                                                        0.25
                JLR   Answer call from Investor Victim, C. Harris, regarding Investor Confirmations.                0.25
                JLR    Return the call of Investor Victim, L. Jamison, regarding Investor Confirmation.             0.25
                JLR    Receipt and review of email correspondences regarding Investor Victim, W.
                       Baker, and Investor Confirmation.                                                           0.25
               JLR     Return the call of K. Ley on behalf of Investor Victim, M. Ley, regarding
                       Investor Confirmation questions.                                                            0.25
               JLR    Return the call of Investor Victim, V. McCaffrey, regarding receivership.                    0.25
               JLR    Return the call of Investor Victim, D. Lokershires, to assist with completing the
                      Investor Confirmation over the telelphone.                                                   0.25
               JLR    Receipt and review of email correspondence from Investor Victim, L. Shaw,
                      regarding Investor Confirmation.                                                             0.25
               JLR    Return the call of Investor Victim, T. Deardurff, regarding receipt of New
                      Direction documentation necessary to complete Investor Confirmation.                         0.25
               JLR    Answer the return call of Investor Victim, V. McCaffery, regarding Investor
                      Confirmation.                                                                                0.25
               JLR    Return the call of S. Zqabihi on behalf of Investor Victim, W. Baker, requesting
                      assistance with completing the Investor Confirmation.                                        0.25
               JLR    Return the call of Investor Victim, L. Henderson, regarding Investor
                      Confirmation.                                                                                0.25
               JLR    Answer the return call of Investor Victims, K. & M. Ley, to assist with
                      completing Investor Confirmation over the telephone and answer additional
                      Receivership questions.                                                                      0.25
               JLR    Call Investor Victim, J. Nitz, to assist with receipt of Investor Confirmation and
                      address confusion as to her claim.                                                           0.25
               JLR    Return the call of Investor Victim, R. Mann, regarding questions as to
                      completing the Investor Confirmation.                                                        0.25
               JLR    Return the call of Investor Victim, T. Corum, regarding Investor Confirmation.               0.25
               JLR    Return the call of Investor Victim, T. Deardurff, to assist with finalizing the
                      Investor Confirmation with New Direction documents.                                          0.25
               JLR    Return the call of Investor Victim, R. Mann, to assist with completing the
                      Investor Confirmation over the telephone.                                                    0.25
               JLR    Return the call of Investor Victim, B. Frandemo, regarding Receivership
                      inquiry.                                                                                     0.25

                                                                                                           APP 0033
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                         Page 34 of 67 PageID 4711
       Kelly Crawford Receivership - Metals.com                                                                             05/26/2021
                                                                                                            Account No:     16125-102
                                                                                                             Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                                   Hours
                MKR   Review emails to determine all investors spoken with and their decisions for
                      metals located at Bayside and take notes on decisions;                                         0.50
                AE    Review, revise, finalize, and process claims and send out claims to new
                      Investors.                                                                                     4.25
                CAM   Continue returning investor calls in efforts to get all investor confirmation forms
                      completed and returned.                                                                        4.00
                MHS   Telephone conference with attorney for Belichenko regarding interview by
                      Receiver (.3); conference with Receiver regardin! I        y2).                                0.50
                LMS   Attention to in-process transaction with Bayside, including revisions to
                      summary sheet for completed transactions (1.0); Telephone call with Investor,
                      Graham Harrower and review of his transactions (.25).                                          1.25
                PCL   Communications with K. Crawford regarding
                                         .4); review voice message from and left voice message for
                      J. Schwartz and related email communications with K. Crawford(.2); continue
                      drafting Douglas Emmett motion for contempt and related file
                      review(1.8);communications with D. Baer and K. Crawford regarding Jackson
                      Street, Rhawn Street, Cheltenham offers and review of information
                      received(.5); receipt of S. Richman comments to settlement agreement and
                      mutual release form(.3)                                                                        3.20

04/26/2021      JLR    Receipt and listen to multiple voicemails from Investor Victim, G. Kirk,
                       regarding questions/concerns as to his specific metals investment and value.                 0.25
                JLR    Return the call of Investor Victim, G. Kirk, to address his concerns as to the
                       deviation in value of his silver Canadian polar bear coins.                                  0.25
               JLR     Return the call of Investor Victim, L. Knox, to assist with completing the
                       Investor Confirmation over the telephone.                                                    0.25
               JLR     Call Investor Victim, G. Gregory, to assist with completing the Investor
                       Confirmation as she is blind.                                                                0.10
               JLR    Answer the call of Investor Victim, L. McMillin, to address confusion as to
                       receipt over Equity Trust document that is similar to Investor Confirmation.                 0.25
               JLR    Answer the call of Investor Victim, G. Gregory, regarding setting up an
                      appointment to assist with completing the Investor Confirmation over the
                      telephone once an aide arrives to assist with her sight.                                      0.10
               JLR    Return the call of M. Whipple, attorney for Investor Victim, regarding questions
                      as to completing the Investor Confirmation.                                                   0.50
               JLR    Return the call of attorney S. Zabihi on behalf of Investor Victim client
                      regarding completing the Investor Confirmation.                                               0.25
               JLR    Return the call of Investor Victim, J. Attwell, regarding questions as to the
                      Receivership.                                                                                 0.25
               JLR    Return the call of Investor Victim, I. Taggart, regarding questions raised by her
                      Financial Advisor via email.                                                                  0.25
               JLR    Return the call of financial advisor on behalf of Investor Victim, C. Snyder,
                      regarding brokerage of metals question.                                                       0.25
               JLR    Answer the call of Investor Victim, H. Vanoveren, regarding Investor
                      Confirmation.                                                                                 0.25
               JLR    Return the call of Investor Victim, B. Revere, regarding her
                      questions/confusion as to receipt of similar Equity Trust documents; Draft and
                      send responsive email to Investor Victim, B. Revere, detailing the same.                      0.25
               JLR    Answer the call of Investor Victim, G. Gregory, to assist aide with completing
                      Investor Confirmation.                                                                        0.25
               JLR    Answer the return call of Investor Victim, J. Attwell, to assist with completing
                      the Investor Confirmation over the telephone.                                                 0.25

                                                                                                            APP 0034
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                     Page 35 of 67 PageID 4712
       Kelly Crawford Receivership - Metals.com                                                                       05/26/2021
                                                                                                      Account No:     16125-102
                                                                                                       Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                             Hours
                JLR Answer the return call of Investor Victim, G. Gregory, after locating the
                     Investor Confirmation; Assist with completing the Investor Confirmation over
                    the telephone with her aide.                                                               0.25
               JLR  Call Victim, H. Vanoeveren regarding Investor Confirmation.                                0.25
               JLR Answer the return call of Investor Victim, H. Vanoeveren, regarding his
                    Investor Confirmation.                                                                     0.25
               JLR Answer the return call of Investor Victim, J. Attwell, regarding his Investor
                    Confirmation and documentation from New Direction.                                         0.25
               JLR  Return the call of Investor Victim, R. Mann, regarding computation of
                    completed mailed Investor Confirmation.                                                    0.25
               JLR  Return the call of Investor Victim, H. Vanoeveren, regarding his Investor
                    Confirmation.                                                                              0.25
               JLR  Return the call of Investor Victim, J. Lindenmuth, regarding confusion over
                    receipt of similar Equity Trust confirmation documents.                                    0.25
               MHS Email to counsel regarding Belichenko interview (.2); telephone conference
                    with attorney for Belichenko regarding interview on Wednesday April 28 (.3);
                    conference with Receiver                     (.2).                                        0.70
               JLR Answer the call of Investor Victim, I. Grubb, regarding Investor Confirmation.             0.25
               JLR  Receipt of and listen to voicemail from Investor Victim, S. Weis, requesting to
                    complete the Investor Confirmation over the telephone; Locate and prepare
                    the Investor Confirmation of S. Weis in preparation for over the telephone
                    completion.                                                                               0.25
               JLR  Return the call of Investor Victim, S. Weis, to complete the Investor
                    Confirmation over the telephone.                                                          0.25
               AE   Review, revise, finalize, and process claims and send out claims to new
                    Investors.                                                                                3.75
               LMS Attention to in-process transactions with Bayside Metals and investor
                   communications regarding same                                                              0.50
               CAM Receive and return calls from investors in connection with completing Investor
                    Confirmation forms.                                                                       4.00
               PCL Communications with A. Spencer,J.Buffa, K.Crawford, et al., regarding motion
                   to extend deadlines and A. Spencer response regarding limited
                   appearance(.4);communications with D. Baer, K.Crawford, J.Hammel
                   regarding electrical permit inspection(.3); communications with J.Stafford
                   regarding Spitzer email and related file review(.5)j comm@ications with K.
                   Crawford r e g a r d i n g , . 4 ) ;
                   communications with K.Crawford and/or B.Given regarding Fainche McCarthy
                   jewelry declaration and omissions and related file review(.5);communications
                   with K.Crawford, D.Baer, et al., regarding 5782 Haddington offers(.3); review
                   and revise Motion to Modify Claim Procedures Deadlines and related
                   communications with K.Crawford( .5).                                                       2.80

04/27/2021     JLR    Answer the call of Investor Victim, W. Eacker, regarding check payment to
                      Barrick Capital.                                                                        0.25
               JLR    Answer the call of D. McKinney on behalf of his grandmother Investor Victim,
                      G. Ross, regarding the pending metals transfer with Bayside.                            0.25
               JLR    Answer call from Investor Victim, B. Mitchell, regarding confirmation his
                      Investor Confirmation.                                                                  0.25
               JLR    Answer the call of Investor Victim, J. Attwell, regarding his Investor
                      Confirmation.                                                                           0.25
               JLR    Answer the call of Investor Victim, K. Dallimore, regarding confusion as to
                      receipt of Equity Trust confirmation documents and confusion as to whether or

                                                                                                      APP 0035
   Case 3:20-cv-02910-X Document 282 Filed 07/16/21                         Page 36 of 67 PageID 4713
Kelly Crawford Receivership - Metals.com                                                                          05/26/2021
                                                                                                  Account No:     16125-102
                                                                                                   Invoice No:      1021662
Matter 102 - Representation of Receiver




                                                                                                         Hours
               not he received/completed an Investor Confirmation.                                        0.25
        JLR    Return the call of Investor Victim, K. Dallimore, to assist with completing the
               Investor Confirmation over the telephone.                                                   0.25
        JLR    Return the call of Investor Victim, B. Revere, regarding confusion as to receipt
               of the Equity Trust documentation.                                                          0.25
        JLR    Return the call of E. Lane vision aid on behalf of Investor Victim, G. Gregory,
               regarding missing supporting documentation to complete Investor
               Confirmation.                                                                               0.25
        JLR    Receipt and review of email correspondence from Investor Victim, K.
               Dallimore, with attached completed Investor Confirmation; Draft and send
               responsive email to the same confirming receipt.                                            0.10
        JLR    Receipt of remaining documentation to be attached to Investor Confirmation of
              G. Gregory; Call aid E. Lane to confirm receipt of the same.                                 0.10
        JLR    Receipt and review of inquiry raised by Investor Victim, D. Renfro, regarding
               Investor Confirmation.                                                                      0.25
        JLR   Answer the call of Investor Victim, Grubb, to confirm information prior to his
              completed Investor Confirmation.                                                             0.25
        JLR   Receipt and review of email correspondence from B. Silverstrom on behalf of
              Investor Victim, S. Piotti, regarding confusion as to receipt of Equity Trust
              documentation; Draft and send responsive email to the same.                                  0.25
        JLR   Receipt and review of email correspondence regarding Investor Victim, G.
              Miller, regarding confusion as to receipt of Equity Trust documentation.                     0.25
        JLR   Answer the call of Investor Victim, N. Jones, to discuss the supporting
              documentation to be attached to her completed Investor Confirmation.                        0.25
        JLR   Return the call of Investor Victim, C. Entler, to explain the Investor
              Confirmation and the supporting documentation needed to prove up Exhibit A
              value.                                                                                      0.25
       JLR    Receipt of and review of Investor Confirmation and supporting documents of
              Investor Victim, I. Grubb; draft and send email to Investor notifying of same.              0.10
       JLR    Answer call from Investor Victim, M. Hathaway, regarding Investor
              Confirmation.                                                                               0.25
       JLR    Return the call of Investor Victim, G. Kirk, regarding supplemental
              documentation to provide with previously submitted completed Investor
              Confirmation.                                                                               0.25
       JLR    Return the call of Investor Victims, G. and R. Miller, regarding confusion as to
              receipt of Equity Trust documents.                                                          0.25
       AE     Review, revise, finalize, and process claims and send out claims to new
              Investors.                                                                                  2.25
       JLR    Return the call of Investor Victim, D. Renfro, to assist with completing the
              Investor Confirmation over the telephone.                                                   0.25
       MKR    Phone call with investors regarding all necessary forms to complete to file
              claim (0.2); confer with J. Rolls regarding forms sent by Equity Trust to
              investors (0.2).                                                                            0.40
       CAM    Receive and return calls from investors in connection with completing Investor
              Confirmation Forms.                                                                         3.75
       PCL    Communications with J. Schwartz regarding case inquiry (.4) communications
              with K.Crawford regardin                           (.4)communications with
              B.Given and K. Crawford regarding frozen account(.4); communications with
              A. Spencer and K.Crawford regarding Third Fee Application and related
              review(.6); Communications with A. Reeves regarding ADR case
              status(.3);communications with G. Besen and K. Crawford regarding retainer
              source demand and related file review(.4).                                                  2.50

                                                                                                   APP 0036
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                      Page 37 of 67 PageID 4714
       Kelly Crawford Receivership - Metals.com                                                                         05/26/2021
                                                                                                        Account No:     16125-102
                                                                                                         Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                               Hours

04/28/2021      JLR Receipt and review of email correspondence from Investor Victims, K. & M.
                    Smith, regarding confusion over receipt of Equity Trust documents; Draft and
                    send responsive email to the same addressing confusion.                                      0.25
               JSS  Review third party subpoena served on Receivership defendants regarding
                   former employee.                                                                              0.25
               JLR  Return the call of Investor Victim, N. Jones, regarding important question
                    needing to be answered as to the Investor Confirmation.                                      0.25
               JLR  Return the call of L. Selby on behalf of deceased Investor Victim, T. Diane
                   Richardson, in regard to email correspondence from the same.                                  0.25
               JLR Answer the call of Investor Victim, C. Entler, to assist with completing the
                    Investor Confirmation over the telephone.                                                    0.25
               JLR Receipt and review of email correspondence from Investor Victim, D. Renfro,
                   with Investor Confirmation; Draft and send responsive email to the same;
                   Prepare the pictures and provide to K. Crawford.                                              0.25
               JLR Return the call of L. Kennedy Selby on behalf of deceased Investor Victim, T.
                   Richardson, regarding Investor Confirmation.                                                  0.25
               WSY Review of subpoena issued by attorney for Tiffany Terrell and determine
                   whether any responsive documents from Tri-Net are within the possession of
                   the Receiver.                                                                                 0.50
               JLR Receipt and review of subsequent email correspondence from Investor Victim,
                   D. Renfro, regarding a list of questions; Draft and send responsive email to the
                   same.                                                                                         0.25
               MHS Various communications with attorney for Belichenko regarding receiver's
                   interview (.3); emails with ReceiverJ               CT (.2).                                  0.50
               AE  Review, revise, finalize, and process claims and send out claims to new
                   Investors.                                                                                    3.75
               CAM Receive and return calls from investors in connection with completing Investor
                   Confirmation Forms.                                                                          4.25
               PCL Travel to Los Angeles to interview witnesses(2.5 no charge); review file
                   materials and draft/revise motion to hold Douglas Emmett in contempt (1.8);
                   interview former employee with K. Crawford( and follow up with K.Crawford
                   (2.5).                                                                                       4.30

04/29/2021     JLR    Return the call of Investor Victim, S. Silverman, to assist with completing the
                      Investor Confirmation over the telephone.                                                 0.25
               JLR    Answer the call of Investor Victim, R. Mann, to confirm receipt of completed
                      Investor Confirmation and recalculate her Exhibit total to address concerns as
                      to accuracy.                                                                              0.25
               JLR    Return the call of Investor Victim, D. Entler, regarding Receivership.                    0.25
               JLR    Return the call of Investor Victim, K. Dallimore, regarding Investor
                      Confirmation and answer his Receivership questions                                        0.25
               JLR    Return the call of L. Selby on behalf of deceased Investor Victim, T.
                      Richardson, to assist with getting correct Exhibit A information from New
                      Direction for purposes of completing Investor Confirmation.                               0.25
               JLR    Return the call of Investor Victim, G. Kirk, regarding receipt of supplemental
                      documentation he provided to K. Crawford; Pending Confirmation.                           0.25
               AE     Review, revise, finalize, and process claims and send out claims to new
                      investors.                                                                                3.75
               CAM    Receive and return calls from investors in connection with completing Investor
                      Confirmation Forms.                                                                       5.25
               PCL    Meeting with former employee with K. Crawford and related conference with

                                                                                                         APP 0037
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                        Page 38 of 67 PageID 4715
       Kelly Crawford Receivership - Metals.com                                                                           05/26/2021
                                                                                                          Account No:     16125-102
                                                                                                           Invoice No:      1021662
      Matter 102 - Representation of Receiver




                                                                                                                 Hours
                      K.Crawford regarding same(4.0), Return to Dallas from Los Angeles(No
                      charge).                                                                                     4.00          n/c
                PCL   Continue revisions to Douglas Emmett motion for contempt and related file
                      review(.6); communications with B.Given regarding F. McCarthy jewelry
                      disclosure and frozen account issues and related file review(.5);receipt and
                      review of E.Devaney correspondence rejecting request for disclosure of
                      retainer source(.3).                                                                         1.40

04/30/2021      JLR    Receipt and review of voicemail from Investor Victim, S. Silverman, regarding
                       Edward Jones documents necessary for claim.                                                 0.25
                JLR   Answer the call of the daughter of Investor Victim, M. Hanson, to assist with
                       completing the Investor Confirmation over the telephone.                                    0.25
                JLR   Answer call of Investor Victim, S. Silverman, to review/discuss recently
                       provided Edward Jones documents to determine if applicable for use in
                       Investor Confirmation and Exhibit A prove up.                                               0.25
               JLR    Answer the call of Investor Victim, G. Kirk, regarding confirmation of receipt of
                      supplemental documentation sent to K. Crawford for attachment to previously
                      submitted Investor Confirmation.                                                             0.25
               JLR    Receipt and review of email correspondence and attachments from law firm
                      on behalf of Investor Victim, D. Zeihen, regarding Investor Confirmation.                    0.25
               JLR    Return the call of J. Selby on behalf of deceased Investor Victim, T.
                      Richardson, to assist with correct completion of Investor Confirmation and
                       later confirm receipt of completed Investor Confirmation.                                   0.25
               JLR    Answer call of Investor Victim, M. Hanson, regarding Investor Confirmation.                  0.25
               JLR    Answer the return call of Investor Victim, S. Silverman, regarding fax of New
                      Direction documents; Locate the same prior to assisting Investor Victim with
                      completing Investor Confirmation.                                                            0.25
               JLR    Return the call of Investor Victim, N. Reed, to discuss Investor Confirmation.               0.25
               JLR    Return the calls of Investor Victim, C. Entler, to address issue with Investor
                      Confirmation as it was missing pages.                                                       0.25
               JLR    Draft and send responsive email to Investor Victim couple, J. & D. Nelson,
                      regarding whether or not they submitted their respective Investor Confirmation
                      as they were confused by the same.                                                           0.25
               JLR    Receipt and review of email correspondence from Investor Victim, L.
                      Scarborough, with attached Equity Trust completed Investor Confirmation.                    0.25
               JLR    Return the calls of Investor Victim, S. Silverman, regarding Investor
                      Confirmation.                                                                               0.25
               JLR    Return the call of Investor Victim, M. Blivin, regarding Investor Confirmation.             0.25
               JLR    Return the call of Investor Victim, N. Jones, to discuss confusion as to
                      re-calculation of Investor Confirmation Exhibit A values.                                   0.25
               JSS    Review 32 page proposed consent order and related supporting files from
                      Maryland's State Securities office.                                                         0.50
               JSS    Telephone conference (x2) with Maryland's Securities office.                                0.50
               JSS    Confer with Receiver regarding Maryland's State Securities' proposed consent
                      and claims                                                                                  0.50
               JSS    Attention to e-mail from Attorney representing class action claimants against
                      Respondents.                                                                                0.25
               JLR    Answer return call from Investor Victim, S. Silverman, to assist with completing
                      the Investor Confirmation over the telephone.                                               0.25
               JLR    Prepare documents on behalf of Investor Couple, J. & M. Nelson, to secure
                      claim in Receivership; Confer as to the same with K. Crawford.                              0.25
               JLR    Receipt and review of email correspondence from attorney representing

                                                                                                           APP 0038
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                      Page 39 of 67 PageID 4716
       Kelly Crawford Receivership - Metals.com                                                                         05/26/2021
                                                                                                        Account No:     16125-102
                                                                                                         Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                               Hours
                      Investor Victim, W. Baker, with attached completed Investor Confirmation.                 0.25
                AE    Review, revise, finalize, and process claims and send out claims to new
                      Investors.                                                                                 2.25
                CAM   Receive and return calls from investors in connection with completing Investor
                      Confirmation Forms.                                                                        2.75
                PCL   Communications with K.Crawford, regarding                         (.8);
                      communications with K.Crawford regarding
                                                      .4).                                                       1.20
                PCL   Communications with K. Crawford and R. Drake regarding EquityZen
                      investments(.2); communications with K.Crawford, regarding case status and
                      latest development and/or related research review(1.2).                                    1.40

05/01/2021     JLR    Receipt and review of email correspondence from Investor Victim, B. Grubb,
                      regarding correction as to metals information and tax question as to metals
                      investment.                                                                                0.25
               JLR    Answer call from Investor Victim couple, J. & M. Nelson, regarding Investor
                      Confirmations.                                                                             0.25

05/03/2021     JLR     Receipt and review of multiple email correspondences from Investor Victim, L.
                       Shaw, regarding Investor Confirmation; Draft and send responsive email to the
                      same.                                                                                     0.25
               JLR     Receipt and review of voicemail of Investor Victim, S. Silverman, regarding
                       Investor Confirmation; Return call of Investor Victim regarding Investor
                      Confirmation.                                                                             0.25
               JLR     Receipt and review of email correspondence from Investor Victim couple, J. &
                      M. Nelson, regarding Investor Confirmations; Draft and send responsive email
                      to the same.                                                                              0.25
               JLR    Answer return call of Investor Victim, S. Silverman, regarding questions as to
                      what happens next after submission of Investor Confirmation; Detail the
                      claims report process.                                                                    0.25
               JLR    Return the call of Investor Victim, L. Minehart, regarding question as to
                      permission to sell metals without harming his claim in the Receivership;
                      Answer the same.                                                                          0.25
               JLR    Answer the call of Investor Victim, E. Fuchsberger, regarding Non-Metals
                      Claim Form.                                                                               0.25
               JLR    Return the call of Investor Victim, Robert Kolbow, regarding Investor
                      Confirmation.                                                                             0.25
               JLR    Return the calls of Investor Victim couple, G. & R. Miller, regarding confusion
                      as to receipt of Equity Trust documents.                                                  0.25
               JLR    Interoffice conference led by K. Crawford regarding status and strategy of
                      handling all timely and late claims and respective Investor Victim calls moving
                      forward.                                                                                  0.75
               JLR    Return the call of Investor Victim, J. Ihrke, regarding Investor Confirmation.            0.25
               JLR    Receipt and review of email from Investor Victim, J. Ihrke, regarding Investor
                      Confirmation and questions as to status of the claim; Draft and send
                      responsive email to the same.                                                             0.25
               JLR    Return the call of Investor Victim, G. & R. Miller, regarding non-metal and
                      metal Investor Confirmation; Confer with K. Crawford as to their request for a
                      letter from the Receiver explaining the elimination of the debt instrument for
                      Equity Trust; Leave voicemail with same.                                                  0.50
               JLR    Receipt and review of subsequent email correspondence from Investor Victim,
                      J. Ihrke, regarding Investor Confirmation and status questions; Draft and send

                                                                                                         APP 0039
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                      Page 40 of 67 PageID 4717
       Kelly Crawford Receivership - Metals.com                                                                         05/26/2021
                                                                                                        Account No:     16125-102
                                                                                                         Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                               Hours
                      responsive email to the same.                                                             0.25
                JLR   Return the call of Investor Victim, L. Selby, regarding the Investor
                      Confirmation.                                                                              0.25
                JLR   Return the call of Investor Victim, C. Entler, regarding Investor Confirmation.            0.25
                JLR   Return the call of Investor Victim, T. Deardurff, regarding Investor
                      Confirmation.                                                                              0.25
                JLR   Receipt and review of email correspondence from Investor Victim couple, G. &
                      R. Miller, with attached Equity Trust Documents pertaining to their confusion
                      as to needing Letter for Equity to eliminate debt instrument; Draft and send
                      responsive email to the same.                                                              0.25
                JLR   Interoffice conference with K. Crawford regarding Motion to sell five (5)
                      Receivership Properties in Philadelphia.                                                   0.25
                JLR   Receipt and review of subsequent email from Investor Victim, J. lrhke,
                      regarding Investor Confirmation and future questions; Draft and send
                      responsive email to the same.                                                              0.25
                JLR   Draft and send substantive email to Investor Victim, D Renfro, answering
                      several various questions pertaining to the Receivership.                                  0.25
                JLR   Review of email correspondences from Investor Victim, R. Rhyne, regarding
                      confusion as to submission of Receivership Questionnaire and/or Investor
                      Confirmation.                                                                              0.25
               JLR    Return call of Investor Victim, R. Rhyne, to ease his immediate concerns as to
                      submission of Receivership Questionnaire and/or Investor Confirmation.                     0.25
               CAM    Receive and return calls from investors in connection with completing the
                      Investor Confirmation forms (3.0); team meeting regarding claims process
                      (.5).                                                                                     3.50




                                                                                             ..
               AE     Review, revise, finalize, and process claims and send out claims to investors.            7.75
               PKJ    Review caselaw regarding

                      and begin research on the issue of
                                                                                                                1.80

05/04/2021     JLR    Return the subsequent call of Investor Victim, R. Rhyne, regarding Investor
                      Confirmation and address confusion/worry as to the same.                                  0.25
               JLR    Return the call of Investor Victim, W. Eacker, regarding Investor Confirmation.           0.25
               JLR    Receipt and review of Investor Victim couple, B. & P. Frey, regarding Investor
                      Confirmation.                                                                             0.25
               JLR    Answer the call of Investor Victim, D. Burch, regarding Investor Confirmation.            0.25
               CAM    Receive and return calls from investors in connection with completing the
                      Investor Confirmation forms (2.5); phone call to PGW to restore gas service at
                      5135 Jackson St., Philadelphia, and complete application to forward to
                      customer service (.5).                                                                    3.00
               AE     Review, revise, finalize, and process claims and send out claims to new
                      investors.                                                                                1.75
               LMS    Correspondence with G. Harrower regarding his in-process transaction with
                      Bayside Metals                                                                            0.25
               PKJ    Continued research on the issue of




               PCL
                      ---
                      Communications with B.Given and K.Crawford regarding jewelry F.McCarthy
                      failed to disclose and frozen account issues and related file review and
                      research(1.5); ) communications with K.Crawford and S.Richman regarding
                                                                                                                3.50




                                                                                                        APP 0040
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                      Page 41 of 67 PageID 4718
       Kelly Crawford Receivership - Metals.com                                                                         05/26/2021
                                                                                                        Account No:     16125-102
                                                                                                         Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                               Hours
                      S.Richman settlement documents edits and related review of same(.8);
                      review and revise motion for contempt against S. Batashvili and related
                      communications with K.Crawford(.7);communications with D.Baer regarding
                      appraisals for Cheltenham and Jackson Street and repairs for other
                      properties( .4).                                                                           3.40

05/05/2021      JLR   Answer the call of Investor Victim couple, G. & R. Miller, regarding assistance
                      from K. Crawford as to their elimination of debt instrument required by Equity
                      Trust.                                                                                     0.25
                JLR   Return the call of Investor Victim, M. Zunich, regarding Investor Confirmation,
                      tax question, and status update.                                                           0.25
                CAM   Receive and return various investor calls regarding Investor Confirmation
                      forms.                                                                                     2.25
                CAM   Telephone call with Philadelphia Gas Works related to restoring power at 5135
                      Jackson St. in Philadelphia (.1 ).                                                         0.10
                CAM   Generate investor claim calculation forms in preparation for receiving expert
                      metal valuations for purpose of calculating investor allowed claim amounts.                3.00
                AE    Review, revise, finalize, and process claims and send out claims to new
                      Investors.                                                                                 1.75
                PCL   Communications with K.Crawford and/or J. Jordan regarding F. McCarthy
                      frozen account issues(.6) communications with K.Crawford and S.Richman
                      regarding S.Richman settlement documents edits and related review of
                      same(.7);communications with J.Hammel, K. Crawford, D.Baer regarding
                      Wanamaker contract termination(.1 ); communications with J.Hammel, K.
                      Crawford, D.Baer regarding existing contracts for Jackson, Cheltenham,
                      Wanamaker, Rosemar and Rhawn properties and/or related
                      review(.8);communications with B.Given regarding F.McCarthy alleged frozen
                      account issues and related communications with K.
                      Crawford(.5);communications with K. Crawford regarding case
                      status/developments and related file review(.9); communications with R.
                      Drake, K.Crawford regarding EquityZen investment(.4); communications with
                      D.Baer and K.Crawford regarding Dundala appraisals for Cheltenham and
                      Jackson properties(.2).

05/06/2021      JLR   Review of email chain between K. Crawford and Investor Victim, M. Peden,
                      regarding confusion/issue as to Investor Confirmation; review the respective
                      Investor Confirmation and review and analysis of supporting Entrust Group
                      documents attached thereto; Telephone call with Investor Victim, M. Peden, to
                      discuss the documents and resolve confusion as to accurate Exhibit A
                      corrections.                                                                              0.50
                JLR   Draft and send subsequent email correspondence to Investor Victim, M.
                      Peden, to provide in writing confirmation as to his questions/confusion raised
                      with K. Crawford.                                                                         0.25

               KKR Research - · · · · · · ·                                                                     0.20
               WSY %orrespond with Peter Lewis concerning case law res

                                           and send him that case law for his review in preparatoin
                      for Hearing . .                                                                           0.10
               CAM    Continue generating investor claim calculation forms for investors allowed
                      claim.                                                                                    5.00
               CAM    Receive and return calls from various investors regarding Investor

                                                                                                        APP 0041
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                       Page 42 of 67 PageID 4719
       Kelly Crawford Receivership - Metals.com                                                                          05/26/2021
                                                                                                         Account No:     16125-102
                                                                                                          Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                                Hours
                      Confirmation forms.                                                                        1.50
                PKJ   Review Defendants' combined Reply in support of Emergency Motion to
                      Modify Preliminary Injunction; analysis of
                                                                                                                  0.90
                BBN   Receipt and review combined Reply Brief                                                     0.90
                PCL   Communications with Receiver, regarding Receiver Response to source of
                      retainer issues and related review of same.                                                 0.60

05/07/2021      JLR   Answer the call of Investor Victim, R. Donaldson, regarding question over what
                      metals will be included in the claim value number.                                          0.25
                CAM   Receive and return various investor calls (2); research claim issues for several
                      investors (2); continue efforts in generating investor calculation forms (3).               7.00
               AE     Review, revise, finalize, and process claims and send out claims to new
                      Investors.                                                                                  1.50
                PCL   Review Philly property details and update and/or review spreadsheet and
                      transmit same to K. Crawford(.4); review and/or revise Notice of No Objection
                      and related communications with, K.Crawford regarding same and coordinate
                      filing of same(.4); communications with D.Baer and K.Crawford regarding
                      repair issues (.3); communications with K.Crawford and S.Richman regarding
                      settlement issues(.4);receipt and review of appraisal reports for 19th Street,
                      Roosevelt, Hunting Park, Chancellor, Chester, Cheltenham and Jackson
                      street properties(1.2);review         •                  f  and related
                      communications with K.Crawford regar 1ng same.                                              2.70

05/10/2021     JSS    Telephone conference with Amazon legal counsel regarding access to
                      Defendants AWS account.                                                                     0.25
               CAM    Continue preparing investor claim calculation of claims for investors (3.5);
                      conference call with attorney for investor D. Zeihen regarding amending claim
                      and discussions about the case in general (.5); telephone conference with
                      investor T. Hubbel regarding information needed for claim and note to file
                      regarding same (.2); draft letter to investor J. Hunter requesting current phone
                      and email information as well as additional information needed for his claim
                      (.5); receive and return numerous phone calls from investors in connection
                      with the Investor Confirmation forms (2).                                                  7.10
               AE     Review, revise, finalize, and process claims and send out claims to new
                      Investors.                                                                                  1.75
               PCL    Communications with K.Crawford and R. Drake rerrdin; EquityZen account
                      9.2); communications with K.Crawford regardingJ
                                                                                                                 0.20

05/11/2021     JLR    Interoffice conference with C. Morris regarding questions as to IRA liquidation
                      and Cash Purchase necessary for preparation of Claims Report.                              0.75
               JLR    Receipt and review of email correspondence from Investor Victim, F. Harwick,
                      seeking guidance as to metals liquidation and new metals dealer Midas Gold
                      Group as a bad actor; Draft and send responsive email to the same detailing
                      the Receiver's inability to provide counsel as to the same.                                0.75
               JLR    Receipt and review of email from Investor Victim, M. Gutho, regarding Investor
                      Confirmation; Draft and send responsive email to same.                                     0.25
               JLR    Receipt and review of email correspondence from Investor Victim, G. Dehne
                      Miller, regarding Receiver's email information for debt instrument letter
                      required by Equity Trust and attached responsive Equity Trust documents;
                      Draft and send responsive email to the same.                                               0.25

                                                                                                          APP 0042
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                        Page 43 of 67 PageID 4720
       Kelly Crawford Receivership - Metals.com                                                                          05/26/2021
                                                                                                         Account No:     16125-102
                                                                                                          Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                                Hours
                JLR   Draft and send subsequent email to Investor Victims, B. & M. Gutho, regarding
                      Investor Confirmation.                                                                      0.25
                JLR   Receipt and review of email correspondence from M. Shea regarding issue
                      with Non-Metal and Metal Investor, B. Gilbert; Draft and send responsive email
                      to the same; Confer with C. Morris regarding the aforementioned issues and
                      inform M. Shea of same.                                                                     0.25
                JLR   Receipt and review of email from Investor Victim, M. Peden, regarding
                      Investor Confirmation.                                                                      0.25
               AE     Review, revise, finalize, and process claims and send out claims to new
                      Investors.                                                                                  1.50
                JLR   Receipt of voicemail from Investor Victim, R. Reisner, requesting status
                      update; Return call of same to provide status update.                                       0.25
                JLR   Return the call of Investor Victim, M. Blivin, regarding missing receipt of his
                      completed Investor Confirmation; Work to resolve the same via email or fax;
                      Draft and send subsequent email to Investor Victim detailing the same.                      0.25
                JLR   Interoffice conference with K. Crawford regarding the drafting of Motion to Sell
                      Four (4) Tower Properties in Philadelphia.                                                 0.25
               MKR    Phone call with investors regarding receipt of confirmation materials.                     0.20
               CAM    Return various investor calls regarding Investor Confirmation forms and status
                      of the case.                                                                                1.00
               CAM    Work out various investor claim issues.                                                     1.50
               CAM    Meet with team members regarding claims process and valuation issues (1.5).                 1.50
               CAM    Continue on creating investor claim value forms (1).                                        1.00

05/12/2021     JSS    Preparation for and attendance of status conference hearing in Montana
                      securities matter.                                                                         0.50
               JSS    Telephone conference with counsel for Montana ahead of status conference
                      hearing.                                                                                   0.25
               JLR    Draft Receiver's Motion for Appointment of Appraisers, Approval of Appraisals
                      of Certain Real Properties, and Setting Hearing Regarding Approval of Sale as
                      to specific real properties in Philadelphia, PA owned by Relief Defendant
                      Tower Equity, LLC.                                                                         4.00
               JLR    Interoffice conference with C. Morris regarding Investor Victim issues as to
                      Investor Victim, B. Gilbert's, respective non-metals confirmation and missing
                      metals investor confirmation and Investor Victim, R. Baker, regarding
                      inaccurate statements made by Equity pertaining to use of his metals.                      0.25
               JLR    Return the call of Investor Victim, M. Blivin, regarding his Investor
                      Confirmation.                                                                              0.25
               JLR    Return the call of Investor Victim, M. Strauss, requesting status update after
                      submission of timely completed Investor Confirmation; Explain the Claims
                      Report and the claim calculations therein.                                                 0.25
               CAM    Telephone calls with several investors regarding claim changes and other
                      issues concerning the Investor Confirmation forms.                                         0.75
               CAM    Telephone calls with additional investors and preparing Investor confirmation
                      forms for them to be included as claimants.                                                1.00
               CAM    Continue working on investor claim value forms.                                            2.50
               AE     Review, revise, finalize, and process claims and send out claims to new
                      Investors.                                                                                 1.00

05/13/2021     JLR    Answer the call of Investor Victim, C. Harris, regarding Investor Confirmation.            0.25
               CAM    Continue working on investor claim value forms.                                            5.00


                                                                                                          APP 0043
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                         Page 44 of 67 PageID 4721
       Kelly Crawford Receivership - Metals.com                                                                           05/26/2021
                                                                                                          Account No:     16125-102
                                                                                                           Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                                 Hours
05/14/2021      JLR   Receipt of voicemail from Investor Victim, E. Shaw, regarding questions as to
                      her submitted Investor Confirmation; Return the call of Investor Victim, E.
                      Shaw, to answer her questions as to her self-made corrections on the Investor
                      Confirmation; Interoffice Conference with C. Morris regarding the Investor
                      Victim's confusion as to metals details in ounces; Return call of Investor Victim
                      to inform her C. Morris will be calling her to discuss the same.                             0.25
                TAH   Confer with K. Crawford regarding issues related to Motion to Compel,
                      including authorities and background facts, in order to begin preparation of the
                      same; begin review of counsel correspondence and case filings related to
                      statutory restraining order and consent order in order to prepare arguments
                      and authorities to be included in Motion to Compel                                           1.10
                CAM   Receive expert metal values and import into calculation database.                            0.50
                CAM   Meeting with Receiver to discuss metal values and status of claims received,
                      and strategize on claims issues.                                                             0.50
                CAM   Strategize on setting up claim calculations database and work out key
                      variables needed.                                                                            1.50
                CAM   Telephone calls to and from investors regarding confirmation of receipt of
                      Investor Claim forms.                                                                        1.50
                CAM   Telephone call from Philadelphia Gas Works regarding account set up and
                      schedule service technician; email to and from realtor regarding technician
                      schedule for gas service.                                                                    0.20
                CAM   Meeting with team regarding Investor Confirmation forms received and
                      discuss strategy on locating investors with old contact information.                         0.50
               AE     Review, revise, finalize, and process claims and send out claims to investors.               1.25

05/17/2021      CAM   Work on calculation spreadsheet and strategize various methods of
                      streamlining the process (3.0); begin compiling list of expert coin values still
                      needed (1).                                                                                 4.00
               AE     Review, revise, finalize, and process claims and send out claims to new
                      Investors.                                                                                   1.00
               TAH    Review and analysis of court filings and case correspondences in order to
                      further assess procedural history and background facts.                                     2.00
               DBD    Office conference with Receive~                                                             0.80

05/18/2021     CAM    Work on calculation spreadsheet and strategize various methods of
                      streamlining the process.                                                                   2.00
               CAM    Meet with team on organzing received Investor Confirmation forms (.5).                      0.50
               PCL    Communications from G. Besen, Quinn Emauel and K. Crawford regarding
                      retainer source demand response and related file review .6 ; communications
                      with K.Crawford regarding
                              .4); communications with S.Richman and/or K. Crawford regarding
                      Conway security deposit return(.2).                                                         1.20
               DBD    Further attention to research                                                               0.60

05/19/2021     CAM    Meet with Receiver regarding metal values and strategy for obtaining same
                      (.2).                                                                                       0.20
               CAM    Telephone call from Philadelphia Gas Works and email realtor regarding same
                      (.1 ).                                                                                      0.10
               CAM    Compile list of all metals in the master database and compare with expert
                      values received. Prepare spreadsheet and notes to forward to Receiver of
                      extensive list of additional metal values needed.                                           3.00
               CAM    Continue work on claims calculation database (2).                                           2.00

                                                                                                          APP 0044
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                       Page 45 of 67 PageID 4722
       Kelly Crawford Receivership - Metals.com                                                                          05/26/2021
                                                                                                         Account No:     16125-102
                                                                                                          Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                                Hours
                JLR   Draft Appendix in Support of Receiver's Motion for Appointment of Appraisers,
                      Approval of Appraisals of Certain Real Properties, and Setting Hearing
                      Regarding Approval of Sale.                                                                 0.75
                JLR   Review and prepare documents as exhibits to Receiver's Motion for
                      Appointment of Appraisers, Approval of Appraisals of Certain Real Properties,
                      and Setting Hearing Regarding Approval of Sale; Incorporate the same into
                      Appendix in Support of Receiver's aforementioned Motion.                                    2.00
                PCL   Communications with G.Besen and K.Crawford regarding retainer source and
                      return of transferred $500K issues and related file review(.?); communications
                      with A.Spencer and K. Crawford regarding wire transfer instructions and
                      motion to sell 4 properties and related review of same(.4);communications
                      with S.Richman and/or K. Crawford regarding Conway security deposit
                      return(.3) ; communications with D.Baer and K. Crawford regarding 19th Street
                      property(.2).                                                                               1.60

05/20/2021     TAH    Prepare Motion to Compel and Brief in Support regarding disclosure of source
                      of retainer funds pursuant to request by receiver (2.5);
                      review and analysis of case law pertaining to
                                                                        (.8); review and analysis of
                      case lawp~f!~nJ_ng to


                              (.5); review and ana ys1s o
                                                                 Motion to Compel (1.3).                          5.80
               JLR    Answer the call o Investor Victim Couple, R. and P. Frey, regarding Investor
                      Confirmation; Answer questions as to status of the Receivership and details of
                      what happens next as to the claims process.                                                 0.25
               CAM    Finalize list of metal values needed and forward to Receiver (.25); letter to P.
                      Gardner and to L. Kelley regarding claim issues (.5);
                      continue inserting various metal values into the metals calculation database
                      (4); return various investor calls regarding claim and status of case (.5); work
                      through several investor claim issues (1.0);                                                6.25
               JLR    Revise Appendix in Support of Receiver's Motion for Appointment of
                      Appraisers, Approval of Appraisals of Certain Real Properties, and Setting
                      Hearing Regarding Approval of Sale; Revise and prepare Appendix Exhibit to
                      now include amended Sale Agreement for one of the at-issue properties;
                      Revise Receiver's Motion for Appointment of Appraisers, Approval of
                      Appraisals of Certain Real Properties, and Setting Hearing Regarding
                      Approval of Sale to now reflect the aforementioned revised Appendix and
                      exhibits to the same.                                                                       1.75
               PCL    Communications with K.Crawford and/or D. Baer regarding Philadelphia
                      property sales and title company searches and related file review
                      (.4);communications with J. Lindsay regarding proposed order on motion to
                      sell 4 properties (.1 ).                                                                   0.50

05/21/2021     JLR    Answer the call of Investor Victim, J. Raganswood, requesting status update
                      and questions as to her claim value.                                                       0.25
               JLR    Receipt and review of email correspondence and voicemail from Investor
                      Victim, J. Gearhart; Make return call to the same and answer his questions as
                      to what happens next in regard to his claim with the Receivership.                         0.25
               JLR    Receipt and review of email from Investor Victim, J. Sanford, regarding
                      Investor Confirmation.                                                                     0.10

                                                                                                          APP 0045
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                         Page 46 of 67 PageID 4723
       Kelly Crawford Receivership - Metals.com                                                                             05/26/2021
                                                                                                            Account No:     16125-102
                                                                                                             Invoice No:      1021662
       Matter 102 - Representation of Receiver




                                                                                                                   Hours
                JLR   Return the call of Investor Victim, M. Alexander, requesting a status update;
                      Answer all his questions as to what happens next in the Receivership.                          0.25
                JLR   Return the call of Investor Victim, S. McCauley, regarding tax questions,
                      disbursements of claim monies, and addressing other frustrations he has;
                      Speak with C. Morris in regard to mailing the same a copy of the Federal
                      Complaint to assist his Tax accountant.                                                        0.25
                CAM   Analyze claims that have discrepancies, changes or other issues requiring
                      further investigations and solving the issues by phone calls and emails to and
                      from investors, and calculate allowed claim values (3.5); generate claim
                      calculations forms forms (3); draft letter to attorney S. Zabihi regarding metals
                      investor claimant W. Baker's objection of claims process (.5).                                 7.00
                TAH   Prepare revisions to Motion to Compel and Brief in Support regarding
                      disclosure of source of retainer funds pursuant to request by receiver 1 ;
                      review and analysis of
                                                        Motion o ompe .8).                                           1.80
                PCL   Communications with K. Crawford regarding               ••••••••
                           -         '       - - ......   - . ,.._ .5); review and/or revise latest draft
                                                    ~, ~-· ~




                      o contempt motion for Douglas Emmett and related communications with K.
                      Crawford regarding same(.5); communications with K.Crawford and/or D.Baer
                      regarding
                        '        title company search status and related file review(.2).                            1.20

05/22/2021      CAM   Preparing claim calculation forms for investors.                                               3.00

05/23/2021



                                                                                                                     1.00

05/24/2021     JLR Prepare and provide a copy of the Complaint to Investor Victim, S. McCauley,
                   in hardcopy for tax purposes at his request.                                                      0.25
               CAM Prepare letter to Investor D. Jaworski regarding his claim and need for
                   additional information (.3); telephone calls with many investors to resolve claim
                   issues and work through them to complete their claim calculation forms (2.0);
                   continue preparing non-issue investor calculation forms (2.0)                                    4.30
               WSY Review and confer with Kelly Crawford regarding status of Tri-Net payment of
                   certain checks in Receiver's possession and correspond with Tri-Net on same
                   grounds.                                                                                         0.25
               AS  Reviewing AMEX statements                                                                        3.00

05/25/2021     JLR    Receipt and review of email correspondence from Investor Victim, R. Beatty,
                      regarding status update as to the Receivership; Draft and send responsive
                      email to the same.                                                                            0.25
               AS     Continue reviewing AMEX statements.                                                           2.00
               CAM    Review Investor confirmation form for J. Woelfe, prepare letter regarding his
                      claim, and request a time to discuss same (.25); Telephone call with investor
                      T. Corum regarding claim value, adjustments needed, and memo to file (.25);
                      review investor confirmation for C. Elbon and prepare letter requesting a call to
                      discuss (.25); continue working out various claim issues to calculate allowed
                      claim values (2.5);
                      telephone calls to and from other investors regarding claim issues and
                      additional information needed (1.0).                                                          4.25

                                                                                                            APP 0046
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                     Page 47 of 67 PageID 4724
      Kelly Crawford Receivership - Metals.com                                                                            05/26/2021
                                                                                                     Account No:          16125-102
                                                                                                      Invoice No:           1021662
      Matter 102 - Representation of Receiver




                                                                                                              Hours
                WSY Review correspondence from Tri-Net's counsel related to unpaid monies
                    possibly in its possession and review documents relevant to the same.                          0.10
                PCL Communications with A Steinberg regarding review of Amex statements and
                    related review of same(.30); communications with K. Crawford, et al.,
                    regardin               .2); communications with K. Crawford regardin

                                       .3);communications with D. Baer and K. Crawford regarding
                      purchase offer on 404 Wana~mmunications with
                      K.Crawford, et al., regarding-----(.3); communications with
                      W Hester and K.Crawford regarding C~4).                                                      1.70
                DBD   Office conference with Receiver abou~claims.                                                 0.20
                      For Current Services Rendered                                                          678.60       155,677.50

                                                          Recapitulation
                Timekeeper                                              Hours      Hourly Rate             Total
                Taylor L. Harris                                        10.70         $270.00        $2,889.00
                David B. Dyer                                            1.80          475.00            855.00
                Priya K. Jesani                                         34.75          300.00        10,425.00
                Walker S. Young                                         24.75          265.00         6,558.75
                Margaret Ricchi                                          4.60          225.00         1,035.00
                Laura M. Whitlock                                       22.75          250.00         5,687.50
                Brenda Neuwirt                                          31.85          350.00        11, 147.50
                Mark Simon                                               3.10          435.00         1,348.50
                Leslie Sanderson                                        22.25          320.00         7,120.00
                Jessica L. Rolls                                       137.15          225.00        30,858.75
                Cynthia A Morris                                       123.00          125.00        15,375.00
                James Stafford                                           8.00          400.00         3,200.00
                Karen Roper                                              0.20          180.00             36.00
                David E. Brezik                                          0.80          310.00            248.00
                Alicia Echavarria                                      160.50          125.00        20,062.50
                Peter Lewis                                             87.40          440.00        38,456.00
                Avi Steinberg                                            5.00            75.00           375.00




12/29/2020            Outside legal fees (4012) Kean Miller, LLP                                                              132.50
01/25/2021            Outside legal fees (4012) Kean Miller                                                                   100.00
02/17/2021            Deposition services (1811) Capital Reporting Company - Certified Transcripts                          1,517.03
02/25/2021            Metals.com Office 365 E3 Sup Sep - Nov 2020/MICROSOFT (BKC Firm CC)                                     295.00
02/25/2021            Metals.com Office 365 E3 Sup Sep - Nov 2020/MICROSOFT (BKC Firm CC)                                     283.33
02/26/2021            Office 365 E3 Sub for Feb/ MICORSOFT 365 (BKC Firm CC)                                                   42.86
02/26/2021            Office Basics sub Feb./MICROSOFT 365 (BKC Firm CC)                                                       42.86
03/01/2021            GOOGLESUITE Subscription (BKC Firm CC)                                                                  252.00
03/08/2021            AD /IN *MY CLASSISFIED ADS ( KMC Firm CC)                                                             3,675.00
03/08/2021            Office Basics sub Feb/ MICROSOFT (BKC Firm CC)                                                          150.00
03/25/2021            Postage                                                                                                  58.61
03/25/2021            Postage                                                                                                   1.53
03/26/2021            Document Services - ALPHAGRAPHICS ADDISON (BKC Firm CC)                                               1,042.77
03/29/2021            Postage                                                                                                  11.95
03/29/2021            Postage                                                                                                   0.51


                                                                                                       APP 0047
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21               Page 48 of 67 PageID 4725
      Kelly Crawford Receivership - Metals.com                                                           05/26/2021
                                                                                          Account No:    16125-102
                                                                                           Invoice No:     1021662
      Matter 102 - Representation of Receiver




03/31/2021           Postage                                                                                  10.20
03/31/2021           Postage                                                                                   1.02
03/31/2021           Filing fee (623) Pacer Service Center                                                    47.00
03/31/2021           Filing fee (623) Pacer Service Center                                                     2.80
03/31/2021           Document Services - ALPHAGRAPHICS ADDISON (BKC Firm CC)                                 233.90
04/01/2021           Postage                                                                                   0.51
04/01/2021           Postage                                                                                   3.06
04/01/2021           Postage                                                                                   2.55
04/01/2021           Postage                                                                                   4.08
04/01/2021           Postage                                                                                  20.40
04/02/2021           Postage                                                                                  20.40
04/02/2021           Google Suite Subscription (BKC Firm CC)                                                 252.00
04/05/2021           Postage                                                                                  11.73
04/05/2021           Postage                                                                                  13.26
04/05/2021           Postage                                                                                  16.32
04/06/2021           EDD Data Hosting (3037) Computer Forensic Services, Inc.                                541.25
04/06/2021           Overnight Delivery (1) Federal Express                                                   20.91
04/07/2021           Postage                                                                                   2.04
04/07/2021           Microsoft Office 365 E3 Subscription I MICROSOFT (BKC Firm CC)                          100.00
04/07/2021           2 Overnight Deliveries (1) Federal Express                                               52.04
04/08/2021           Postage                                                                                   2.04
04/08/2021           Microsoft Office Basics Subscription I MICROSOFT (BKC Firm CC)                          150.00
04/09/2021           Postage                                                                                   3.06
04/13/2021           Postage                                                                                   1.02
04/13/2021           Postage                                                                                   1.53
04/14/2021           Postage                                                                                   1.53
04/14/2021           Postage                                                                                   0.71
04/14/2021           Postage                                                                                   3.06
04/14/2021           Postage                                                                                   3.06
04/14/2021           Computerized legal research                                                           1,685.00
04/15/2021           Postage                                                                                   2.04
04/15/2021           Overnight Delivery (1) Federal Express                                                   35.88
04/16/2021           Postage                                                                                   1.02
04/16/2021           5 Overnight Deliveries (1) Federal Express                                              144.44
04/19/2021           Postage                                                                                   2.13
04/19/2021           Postage                                                                                   1.53
04/19/2021           Postage                                                                                   1.02
04/19/2021           5 Overnight Delivery (1) Federal Express                                                151.17
04/20/2021           Postage                                                                                   0.51
04/20/2021           Postage                                                                                   4.97
04/20/2021           Postage                                                                                   2.55
04/21/2021           Postage                                                                                   0.51
04/21/2021           Postage                                                                                   0.51
04/22/2021           Postage                                                                                   7.65
04/22/2021           Postage                                                                                   2.55
04/23/2021           Postage                                                                                   2.04
04/23/2021           Postage                                                                                   0.51
04/26/2021           Postage                                                                                   0.50
04/26/2021           Postage                                                                                   3.06
04/26/2021           Postage                                                                                   2.04
04/26/2021           Postage                                                                                   2.55
04/26/2021           Postage                                                                                   0.50
04/26/2021           Postage                                                                                   0.51

                                                                                           APP 0048
             Case 3:20-cv-02910-X Document 282 Filed 07/16/21                Page 49 of 67 PageID 4726
       Kelly Crawford Receivership - Metals.com                                                            05/26/2021
                                                                                           Account No:     16125-102
                                                                                            Invoice No:      1021662
       Matter 102 - Representation of Receiver




04/28/2021            Postage                                                                                    2.04
04/28/2021            Postage                                                                                    1.53
04/28/2021            Postage                                                                                    1.02
04/28/2021            Postage                                                                                    0.51
04/30/2021            Postage                                                                                    0.71
05/04/2021            Overnight Delivery (1) Federal Express                                                    28.78
05/05/2021            Postage                                                                                    0.91
05/05/2021            Data Hosting (3037) Computer Forensic Services, Inc.                                     756.51
05/10/2021            Postage                                                                                    0.51
05/11/2021            Courier service (670) Special Delivery Service, Inc.                                      30.02
05/11/2021            Overnight Delivery (1) Federal Express                                                    23.50
05/12/2021            Computerized legal research                                                              291.00
05/14/2021            Computer Forensics Services (KMC Firm CC)                                              1,691.41
05/17/2021            10 Overnight Deliveries (1) Federal Express                                              430.02
                      Total Expenses                                                                        14,441.09

                      Total Current Services and Expenses                                                  170,118.59

                      Previous Balance before Adjustments                                                 $128,757.97

05/11/2021            Write off per KMC                                                                    -18,396.27

                      Previous Balance                                                                    $110,361. 70



05/11/2021            Payment - thank you Check #1030                                                     -104,245.48
05/11/2021            Payment - thank you Check #1031                                                       -6,116.22
                     Total Payments                                                                       -110,361.70

                      Balance Due                                                                         $170,118.59




                     TERMS: Due and Payable Upon Receipt

                                                                                            APP 0049
   Case 3:20-cv-02910-X Document 282 Filed 07/16/21                                Page 50 of 67 PageID 4727
                           Brown Fox PLLC
                           8111 Preston Road, Suite 300
                           Dallas, Texas 75225
                           Phone: (214) 327-5000
                                                                                                  INVOICE
                           Fax: (214) 327-5001                                                         Invoice # 25111
                                                                                                      Date: 05/10/2021



Kelly Crawford
Receiver
Scheef & Stone
500 North Akard Street, Suite 2700
Dallas, Texas 75201

Statement of Account

               Outstanding Balance                          New Charges                         Total Balance
                      $0.00                       +          $3,928.50                =~'~~~$_3~,9_2_8._50~~~~


For professional fees and expenses incurred.

Metals.com and Barrick Capital Receivership

Date            Initials     Description                                               Hours        Rate         Total

 04/07 /2021    CCT           Correspondence with Receiver regarding contempt            0.20    $405.00        $81.00
                              motion and tax accountants.

 04/13/2021     CCT          Continue drafting motion for contempt.                     3.00     $405.00   $1,215.00

 04/14/2021     CCT          Continue drafting Motion for Contempt; send                 1.70    $405.00     $688.50
                             working draft of same to Kelly Crawford.

04/15/2021      CCT          Review Receiver's comments to working draft of             0.20     $405.00        $81.00
                             Contempt Motion; revise same accordingly; draft
                             declaration in support of same.

04/21/2021      CCT          Finish drafting motion for contempt; finish                2.20     $405.00    $891.00
                             researching same; draft declaration ofK. Crawford;
                             send same to receiver; coordinate creation of
                             appendix for same.

04/22/2021      CCT          Finish drafting Motion to Show Cause; finish               2.40     $405.00    $972.00
                             drafting appendix in support; draft proposed order;
                             correspondence and telephone conference with
                             Receiver regarding same; correspondence with
                             counsel to BOA regarding same; coordinate filing
                             of same.



                                                                                                   EXHIBIT

                                                       Page 1 of2                                  c APP 0050
 Case 3:20-cv-02910-X Document 282 Filed 07/16/21                         Page 51 of 67 PageID 4728


Invoice Number           Due On             Amount Due                    Payments Received        Balance Due

25533                    07/04/2021         $22.57                                        $0.00          $22.57

                                                                        Outstanding Balance            $3,951.07

                                                                  Total Amount Outstanding             $3,951.07




                         Current Statement payable upon receipt and due within 30 days.

                                          Federal Tax ID XX-XXXXXXX


                 Wire Payments                                               Check Payments
            Veritex Community Bank                                           Brown Fox PLLC
         17950 Preston Road, Suite 500                                  8111 Preston Road, Suite 300
               Dallas, TX 75225                                              Dallas, TX 75225
     ABA # 111024865 Account# 30081159

                 Credit Card Payments https://secure.Iawpay.com/pages/brown-fox-pllc/operating

        Direct payment inquiries to the Account Services Department at accounting@brownfoxlaw.com


                       Thank you for choosing Brown Fox. We appreciate your business.




                                                  Page 2 of2
                                                                                                  APP 0051
 Case 3:20-cv-02910-X Document 282 Filed 07/16/21                          Page 52 of 67 PageID 4729


                                                                             Quantity Subtotal                9.7




                                                                                  Hours Total                 9.7

                                                                                      Subtotal          $3,928.50

                                                                                           Total        $3,928.50



Detailed Statement of Account


Current Invoice

Invoice Number            Due On             Amount Due                    Payments Received        Balance Due

25111                     06/09/2021         $3,928.50                                     $0.00        $3,928.50

                                                                         Outstanding Balance            $3,928.50

                                                                   Total Amount Outstanding             $3,928.50




                          Current Statement payable upon receipt and due within 30 days.

                                           Federal Tax ID XX-XXXXXXX


                    Wire Payments                                             Check Payments
               Veritex Community Bank                                         Brown Fox PLLC
            17950 Preston Road, Suite 500                                8111 Preston Road, Suite 300
                  Dallas, TX 75225                                            Dallas, TX 75225
        ABA # 111024865 Account# 30081159

                  Credit Card Payments https://secure.lawpay.com/pages/brown-fox-pllc/operating

           Direct payment inquiries to the Account Services Department at accounting@brownfoxlaw.com


                        Thank you for choosing Brown Fox. We appreciate your business.




                                                   Page 2 of2
                                                                                                   APP 0052
  Case 3:20-cv-02910-X Document 282 Filed 07/16/21                        Page 53 of 67 PageID 4730
                       Brown Fox PLLC
                       8111 Preston Road, Suite 300
                       Dallas, Texas 75225
                       Phone: (214) 327-5000
                                                                                           INVOICE
                       Fax: (214) 327-5001                                                      Invoice# 25533
                                                                                               Date: 06/04/2021



Kelly Crawford
Receiver
Scheef & Stone
500 North Akard Street, Suite 2700
Dallas, Texas 75201

Statement of Account

              Outstanding Balance                          New Charges                   Total Balance
                   $3,928.50                   +             $22.57           =   ~'_ _ _$_3~,9_5_1._07_ _ _~


For professional fees and expenses incurred.

Metals.com and Barrick Capital Receivership

Date           Description                                                                                Total

 03/23/2021    Hand delivery charges to Kelly Crawford, Scheef & Stone.                                  $22.57




                                                                                    Subtotal             $22.57

                                                                                       Total             $22.57


Detailed Statement of Account


 Prior Outstanding Invoices

Invoice Number               Due On            Amount Due                 Payments Received      Balance Due

25111                        06/09/2021        $3,928.50                               $0.00        $3,928.50


 Current Invoice




                                                    Page 1 of2
                                                                                               APP 0053
    Case 3:20-cv-02910-X Document 282 Filed 07/16/21                                               Page 54 of 67 PageID 4731
                                                                                                                                   Invoice #7347

                                                                                                                               Due: 05/14/2021
               Ahuja & Clark, PLLC
                       C~.rl ifil'd    l'ublir 1\ a:ou nlun ls
                'f-.1,.'.l; ~~llhfl!•fi-;d~llo \'.a.l~·ll ~l'l('t.lb!.!;HVfclc;a
                                                                                                                        Total: $440.00
469-467-4660
ddenison@ahujaclark.com                                                                                                              Tax: $0.00

2901 N. Dallas Parkway Ste. 320 Plano, TX 75093



Invoice for Scheef & Stone, LLP
Attention: Kelly Crawford


Please contact Deborah Denison for any queries about this invoice.



Invoice Items


Services                                                                                                                                   Total

Progress bill for the month of April for Tower Equity, LLC, including the following
Tax data collection and review                                                                                                           $449.17
Extension filing for tax year 2020

Discount                                                                                                                                  -$9.17



Work Detail


  Date: 04/1 2/2021

Date          Subject I Description                                                                        Owner       Hours      Rate   Amount

04/12/2021    Staff Meeting/Discussion                                                                     Stella Y.    25m    $250.00   $104.17

              Staff discussion rega rding: data collection fo r 2020 esti mated tax
              ca lcu lation.

 Date: 04/13/2021

Date          Subject I Description                                                                   Owner            Hours      Rate   Amount

04/13/2021    Communication                                                                           Madhu A.          30m    $250.00   $125.00

              Email s from Receiver and discuss with staff

 Da te: 04/14/2021

Date          Subject I Description                                                            Owner                   Hours      Rate   Amount

04/14/2021    2020 Federal Extension                                                           Stella Y.                30m    $250.00   $125.00

              Interna l coord inate on filin g of Extension, including ema il to attorn ey.

04/14/2021    2020 Federal Extension                                                           Jeanne-Marie B.          30m    $190.00    $95.00
                                                                                    EXHI BIT

                                                                                   ID                                          APP 0054
   Case 3:20-cv-02910-X Document 282 Filed 07/16/21                              Page 55 of 67 PageID 4732
Date           Subject I Description                                         Owner           Hours     Rate    Amount

               Preparation & Filing of 2020 Federal Extension; extension got rejected,
               prepared for paper filing .



                                                                                         Sub-total            $440. 00

                                                                                              Tax               $0.00

                                                                                           Total          $440.00




Please click on the link below to submit payment.


Cred it Card




                                                                                                     APP 0055
    Case 3:20-cv-02910-X Document 282 Filed 07/16/21                           Page 56 of 67 PageID 4733
                                                                                                         Invoice #7348

                                                                                                     Due: 07/08/2021


                                                                                              Total: $787.51
469-467-4660
ddenison@ahujaclark.com                                                                                    Tax: $0 .00

2901 N. Dallas Parkway Ste. 320 Pl ano, TX 75093



Invoice for Scheef & Stone, LLP
Attention: Kelly Crawford


Please contact Deborah Denison for any queries about this invoice.



Invoice Items


Services                                                                                                         Total

Services rendered through June 23, 2021 in regards to 2020 Form 1120-SF                                        $787.51



Work Detail


 Date: 05/06/2021

Date          Subject I Description                                              Owner       Hours      Rate   Amount

05/06/2021 · Staff Meeting/Discussion                                            Stella Y.    10m    $250.00    $41.67

              Staff discussion rega rding: plan of action and missing data .

 Date: 05/10/2021

Date          Subject I Description                                              Owner       Hours      Rate   Amount

05/10/2021    Review of Data                                                     Divya S.     16m    $250.00    $66.67

              Review and orga nization of data received from client

 Date: 05/13/2021

Date          Subject I Description                                              Owner       Hours      Rate   Amount

05/13/2021    Data Download                                                      Divya S.     26m    $250.00   $108.33

              Download of data provided by client and review of data

 Date: 05/19/2021

Date          Subject I Description                                              Owner       Hours      Rate   Amount

05/19/2021    Staff Meeting/Discussion                                           Stella Y.    1Om    $250.00    $41.67

              Staff discussion regarding: outstand ing questions.

 Date: 05/21/2021
                                                                                                     APP 0056
   Case 3:20-cv-02910-X Document 282 Filed 07/16/21                         Page 57 of 67 PageID 4734
Date          Subject I Description                                             Owner       Hours       Rate    Amount

05/21/2021    Review of Data                                                    Divya S.      36m    $250.00    $150.00

              Review and organization of data received from client

 Date: 06/07/2021

Date          Subject I Description                                            Owner        Hours      Rate     Amount

06/07/2021    Review of documents                                              Divya S.     1h 31m   $250.00    $379.17

              Review of documents received and compiled a list of needed documents and
              questions.



                                                                                     Sub-total                 $787.51

                                                                                             Tax                 $0.00

                                                                                           Total           $787.51




Please click on the link below to submit payment.


Credit Card




                                                                                                     APP 0057
    Case 3:20-cv-02910-X Document 282 Filed 07/16/21                                                Page 58 of 67 PageID 4735
                                                                                                                                    Invoice #7344

                                                                                                                                Due: 05/14/2021
                Ahuja & Clark, PLLC
                          C~rt ilil'tl      l'tJblir 1\ ('COU nlanls
                ,.~,   .'.l; i\t«1.1!.•lne· t-i\bl;'·''l \'il-l ~ · !l al nru h!<1rv ~ i('&'I
                                                                                                                         Total: $440.00
469-467-4660
ddenison@ahujaclark.com                                                                                                               Tax : $0.00

2901 N. Dallas Parkway Ste. 320 Plano , TX 75093




 Invoice for Scheef & Stone, LLP
Attention: Kelly Crawford


Please contact Deborah Denison for any queries about this invoice.



Invoice Items


Services                                                                                                                                    Total

Progress bill for the month of April for TMTE, Inc. , including the following
Tax data collection and review                                                                                                            $451.67
Extension filing for tax year 2020

Discount                                                                                                                                  -$11.67



Work Detail


  Date: 04/12/2021

Date           Subject I Description                                                                        Owner       Hours      Rate   Amount

04/12/2021     Staff Meeting/Discussion                                                                     Stella Y.    10m    $250.00    $41.67

              Staff di scussion rega rdin g: data collection fo r 2020 estim ated tax
              ca lculation.

  Date: 04/13/2021

Date          Subject I Description                                                                    Owner            Hours      Rate   Amount

04/13/2021    Communication                                                                            Madhu A.          30m    $250.00   $125.00

              Communica tion with Receive r and discuss with staff

 Date: 04/14/2021

Date          Subject I Description                                                             Owner                   Hours      Rate   Amount

04/14/2021    2020 Federal Extension                                                            Stella Y.                38m    $250.00   $158.33

              Intern al coordinate on filin g of Extens ion, incl uding email to attorn ey.

04/14/2021    2020 Federal Extension                                                            Jeanne-Marie 8 .         40m    $190.00   $126.67




                                                                                                                                APP 0058
   Case 3:20-cv-02910-X Document 282 Filed 07/16/21                              Page 59 of 67 PageID 4736
Date          Subject I Description                                           Owner           Hours     Rate    Amount

              Preparation & Filing of 2020 Federal Extension ; extension got rejected ,
              prepared for paper filing .



                                                                                          Sub-total            $440.00

                                                                                               Tax               $0.00

                                                                                            Total          $440.00




Please click on the link below to submit payment.


Credit Card




                                                                                                      APP 0059
   Case 3:20-cv-02910-X Document 282 Filed 07/16/21                           Page 60 of 67 PageID 4737
                                                                                                        Invoice #7346

                                                                                                    Due: 07/08/2021


                                                                                               Total: $41.67
469-467-4660
ddenison@ahujaclark.com                                                                                   Tax: $0.00

2901 N. Dallas Parkway Ste. 320 Plano, TX 75093



Invoice for Scheef & Stone, LLP
Attention: Kelly Crawford


Please contact Deborah Denison for any queries about this invoice.



Invoice Items


Services                                                                                                          Total

Services rendered through June 23, 2021 in regards to 2020 Form 1120-SF                                         $41.67



Work Detail


 Date: 05/06/2021

Date          Subject I Description                                             Owner       Hours      Rate    Amount

05/06/2021    Staff Meeting/Discussion                                          StellaY.      10m   $250.00     $41.67

              Staff discussion regard ing: plan of action and missing data.



                                                                                     Sub-total                 $41 .67

                                                                                             Tax                $0 .00

                                                                                           Total              $41.67




Please click on the link below to submit payment.


Credit Card




                                                                                                    APP 0060
    Case 3:20-cv-02910-X Document 282 Filed 07/16/21                                             Page 61 of 67 PageID 4738
                                                                                                                           Invoice #7345

                                                                                                                       Due: 05/14/2021
                Ahuja & Clark, PLLC
                        Crrtilkd l'ublir i\t'countonls
                'f~~ .'.It; A~ r lne:•fi';.\!Jt; t.l \lf.! i,i..i..rkn ·fl ~ l~l:!<mrftXrl
                                                                                                                Total: $440.00
469-467-4660
ddenison@ahujaclark.com                                                                                                      Tax : $0.00

2901 N. Dallas Parkway Ste. 320 Plano, TX 75093



 Invoice for Scheef & Stone, LLP
Attention: Kelly Crawford


Please contact Deborah Denison for any queries about this invoice.



Invoice Items


Services                                                                                                                           Total

Progress bill for the month of April for Chase Metals, Inc., including the following
Tax data collection and review                                                                                                   $440.00
Extension filing for tax year 2020



Work Detail


  Date: 04/12/2021

Date          Subject I Description                                                          Owner             Hours      Rate   Amount

04/12/2021    Internal Discussions                                                           Jeanne-Marie B.    30m    $190.00    $95.00

              Intern al discussion regarding extension s and payment.

 Date: 04/13/2021

Date          Subject I Description                                                                 Owner      Hours      Rate   Amount

04/13/2021    Communication                                                                         Madhu A.    30m    $250.00   $125 .00

              Email s from Receiver and di scuss with staff

 Date: 04/14/2021

Date          Subject I Description                                                          Owner             Hours      Rate   Amount

04/14/2021    Internal Discussions                                                           Stella Y.          30m    $250.00   $125.00

              Intern al coordin ate on filin g of Extension, includin g email to attorn ey.

04/14/2021    2020 Federal Extensions                                                        Jeanne-Marie B.    30m    $190.00    $95.00

              Preparation & Filin g of 2020 Fede ral Extension; extension got rejected,
              prepared for paper filin g.




                                                                                                                       APP 0061
   Case 3:20-cv-02910-X Document 282 Filed 07/16/21   Page 62 of 67 PageID 4739
                                                            Sub-total        $440.00


                                                                 Tax           $0.00

                                                              Total         $440.00




Please click on the link below to submit payment.


Credit Card




                                                                        APP 0062
    Case 3:20-cv-02910-X Document 282 Filed 07/16/21                               Page 63 of 67 PageID 4740
                                                                                                               Invoice #7343

                                                                                                           Due: 07/08/2021


                                                                                                     Total: $87.50
469-467-4660
ddenison@ahujaclark.com                                                                                          Tax: $0.00

2901 N. Dallas Parkway Ste. 320 Plano, TX 75093



Invoice for Scheef & Stone, LLP
Attention: Kelly Crawford


Please contact Deborah Denison for any queries about this invoice.



Invoice Items


Services                                                                                                                Total

Services rendered through June 23, 2021 in regards to 2020 Form 1120-SF                                                $87.50



Work Detail


 Date: 05/06/2021

Date          Subject I Description                                                  Owner        Hours       Rate    Amount

05/06/2021    Internal discussion                                                    Stella Y.      10m    $250.00     $41.67

              Staff discussion rega r·d ing: pl an of action and mi ssin g data.

 Date: 05/10/2021

Date          Subject I Description                                                  Owner        Hours       Rate    Amount

05/10/2021    Review of Data                                                         Divya S.       11 m   $250.00     $45.83

              Review and organization of data rece ived from client



                                                                                           Sub-total                 $87 .50

                                                                                                   Tax                 $0.00

                                                                                                 Total               $87.50




Please click on the link below to submit payment.


Credit Card


                                                                                                           APP 0063
   Case 3:20-cv-02910-X Document 282 Filed 07/16/21                       Page 64 of 67 PageID 4741
                                                                                                     Invoice #7349

                                                                                                 Due: 07/08/2021


                                                                                          Total: $447.50
469-467-4660
ddenison@ahujaclark.com                                                                                Tax: $0.00

2901 N. Dallas Parkway Ste. 320 Plano, TX 75093



 Invoice for Scheef & Stone, LLP
Attention : Will Hester


Please contact Deborah Denison for any queries about this invoice.



Invoice Items


Services                                                                                                      Total

Services rendered through June 23, 2021 in regards to 2020 Form 1120-SF                                     $447.50



Work Detail


 Date: 05/13/2021

Date          Subject I Description                                         Owner        Hours      Rate    Amount

05/13/2021    Email Correspondence                                          Stella Y.      15m   $250.00     $62.50

              Ema il correspond ence for filing 2020 extension.

05/13/2021    Review of data                                                Divya S.       45m   $250.00    $187.50

              Review and organization of data rece ived.

 Date: 05/21/2021

Date          Subject I Description                                        Owner         Hours      Rate    Amount

05/21/2021    Document Review                                              Connie G.       15m   $190.00     $47.50

              Review and organ ization of data received from client.

05/21/2021    Review of Data                                               Divya S.        36m   $250.00    $150.00

              Review and organ ization of data received from client:



                                                                                   Sub-total               $447.50

                                                                                          Tax                $0.00

                                                                                        Total          $447.50


                                                                                                 APP 0064
   Case 3:20-cv-02910-X Document 282 Filed 07/16/21   Page 65 of 67 PageID 4742




Please click on the link below to submit payment.


Cred it Card




                                                                     APP 0065
  Case 3:20-cv-02910-X Document 282 Filed 07/16/21                    Page 66 of 67 PageID 4743
                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION

                                                          §
  U.S. COMMODITY FUTURES TRADING                          §
  COMMISSION, et al.                                      §
                                                          §
                         Plaintiffs,                      §
                                                          §             CIVIL ACTION NO.
    v.                                                    §               3 :20-CV-2910-L
                                                          §
  TMTE, INC. a/Ida METALS.COM, CHASE                      §
  METALS, INC., CHASE METALS, LLC,                        §
  BARRICK CAPITAL, INC., LUCAS THOMAS                     §
  ERB a/Ida LUCAS ASHER a/Ida LUKE ASHER,                 §
  and SIMON BATASHVILI,                                   §
                                                          §
                         Defendants,                      §
                                                          §
 TOWER EQUITY, LLC,                                       §
                                                          §
                        Relief Defendant.                 §
                                                          §

                    DECLARATION OF RECEIVER KELLY M. CRAWFORD

         My name is Kelly M. Crawford, I am over 18 years of age, have never been convicted

 of any crime involving moral turpitude and I am fully competent to make this Declaration.

         1.     I am the Receiver appointed by this Court by an Order Granting Plaintiffs'

 Emergency Ex Parte Motion for Statut01y Restraining Order, Appointment of Receiver, and

 Other Equitable Relief (the "SRO'') entered on September 22, 2020 in the case styled above

 and I have personal knowledge of each of the facts stated below.

         2.     I reviewed the invoice from Scheef & Stone, LLP for the legal fees billed for the

 period from March 26, 2021 through May 25, 2021. I wrote off more than $40,000 of time that I

 believed should not be billed to the receivership estate. Specifically, the original invoice I received


DECLARATION OF RECEIVER KELLY M. CRAWFORD                                                        Page 1




                                                                                           APP 0066
       Case 3:20-cv-02910-X Document 282 Filed 07/16/21                     Page 67 of 67 PageID 4744


      from Scheef & Stone, LLP totaled $196,413. 7 5 in fees. In exercising my billing judgment, I wrote

      off$40,736.25 oflegal fees to arrive at the total $155,677.50, which I then discounted by 15%. I

      wrote off 56.85 hours of time of associate attorney Jessica Rolls who has been returning calls from

      investors and assisting investors with the claims process. I also wrote off more than 259 hours of

      time of the paralegals who worked on inputting information in the database of investor

      information, preparing claims to mail to the investors, and communicating with investors.

               3.       Of the discounted fees 1 of $132,326 billed by Scheef & Stone, LLP, $62,266 of the

      fees were attributable to obtaining information from investors for the claims process, conferring

      with investors, preparing the investor claims, and assisting investors with pending metals orders

      obtain their metals or liquidation value from Bayside Metals.

               4.       I declare under penalty of perjury that the foregoing is true and correct and is within

      my personal knowledge.


     Dated:         June 23, 2021




1
    After I reduced the final invoice by 15%.

DECLARATION OF RECEIVER KELLY M. CRAWFORD                                                               Page2


                                                                                                 APP 0067
